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  BALTIMORE POLICE DEPARTMENT
 CONSENT DECREE MONITORING TEAM
     COMPLIANCE REVIEW & OUTCOME ASSESSMENT
          REGARDING CRISIS INTERVENTION

                       February 9, 2024




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I.     EXECUTIVE SUMMARY

The Baltimore Police Department (“BPD”) has made substantial and commendable progress in
developing a program to respond to calls involving persons in behavioral health crisis that
emphasizes de-escalation rather than force, reduces the use of arrest in favor of treatment, and
treats people in crisis with respect and dignity. For most of the critical provisions of the Consent
Decree that address the crisis intervention program, the Monitoring Team determines that BPD is
in initial compliance.

This assessment is the Monitoring Team’s first comprehensive evaluation of BPD’s crisis
intervention program. A critical component of the assessment was the review of a randomly-
selected, statistically significant sample of behavioral health incidents from 2022 in which a
Behavioral Health Form was completed. Specifically, the Monitoring Team evaluated whether
BPD officers de-escalated crises and reduced the unnecessary use of force; minimized arrests;
improved the safety of patrol officers, individuals with behavioral health disabilities or in crisis
and their families, and others within the City’s behavioral health crisis system; and reduced the
inappropriate involvement of individuals with behavioral health disabilities with the criminal
justice system. The Monitoring Team also evaluated whether CIT officers at the incident took
primary responsibility, or if a supervisor took responsibility instead, whether the supervisor sought
input from the CIT officer.

The outcome of this behavioral health incident review demonstrates that BPD has, through policy,
training, and supervision, achieved an important shift in Departmental culture. The Monitoring
Team found that officers resolved the vast majority of matters without the use of force or arrest
and with due care to the rights of the individuals involved. Where force was necessary, it generally
was low-level force – and was necessary to prevent the individual from engaging in self-harm or
harm to others.

This outcome is the result of significant effort by the Department. Over the course of the Consent
Decree, BPD undertook extensive revision of its policies for dispatching and responding to
behavioral health calls. These new policies were reflected in the development of Monitoring Team-
approved 24-hour behavioral health awareness training in the academy, and eight-hour annual in-
service training programs for all officers. Dispatchers and 911 Specialists also received training to
better handle behavioral health calls.

BPD has also developed a training program for specialized Crisis Intervention (“CIT”) officers.
This 40-hour course, in addition to the training provided to all officers, is designed for officers
who volunteer to be CIT officers and are deemed to have the interest and qualifications to respond
to and to be specifically dispatched to incidents implicating crisis intervention concerns.




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To reduce the number of calls to which BPD officers respond, but that can be handled by mental
health professionals, BPD has engaged with community providers to divert some calls to a mobile
crisis team or a counselor. Over the last year, the volume of behavioral health calls to which BPD
responds has gone down significantly, and more calls are handled through the newly established
9-8-8 system or by mobile crisis.

Despite this progress, there remain areas of concern. Under the Consent Decree, BPD committed
to recruit and train sufficient numbers of CIT officers to ensure that a CIT officer is available on
every shift in every district to respond to behavioral health calls. BPD currently has a fewer than
one-third of the officers necessary to meet this standard. CIT officers are an essential component
of the crisis response program.

Additionally, there continues to be too few non-law enforcement resources aimed at preventing
individuals from going into crisis and responding to all of the calls that are appropriate for a non-
law enforcement response. The Monitoring Team did not assess the City’s obligation to enhance
behavioral health services as part of this assessment. However, the unavailability of adequate
resources impacted the Consent Decree provisions that were assessed and necessarily are
referenced throughout the assessment.

The hard work undertaken by BPD is clear, its officers’ performance in instances implicating crisis
intervention concerns is by and large impressive, and the Department’s overall approach is
appearing to have a positive impact on people who have behavioral health needs. The Monitoring
Team is encouraged by BPD’s successful implementation of many of the Consent Decree
provisions relating to crisis intervention—and by BPD’s commitment to come into initial
compliance with the smaller number of provisions that are still being implemented.

To reach compliance, BPD must improve in the following areas:

   1. Compliance with CIT Officer selection process. BPD must resume in-person interviews
      of applicants for CIT officer positions, a required element of the Consent Decree.
      Additionally, BPD must show—through documentation or otherwise—that it adequately
      completes the other required steps in the Consent-Decree mandated selection process.

   2. Number of CIT Officers. BPD needs to increase its number of CIT officers. Currently,
      only 10% of BPD patrol officers are CIT trained, whereas BPD’s crisis intervention plan
      requires that 30% of all patrol officers receive that training. Although this deficiency is due
      in part to BPD’s larger staffing challenges, BPD must do more to encourage officers to join
      the CIT program. Specifically, BPD must develop a plan to increase participation and
      remove barriers to officers joining the program, such as failure by supervisors to approve
      participation in the 40-hour CIT training.




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   3. Control of the Scene by CIT Officers. BPD needs to ensure that when CIT officers are
      at the scene of a behavioral health call, they are in control of the police response there.

BPD must also continue to implement its Crisis Intervention Plan.




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II.     BACKGROUND

A. DOJ investigative Findings

The United States Department of Justice (“DOJ”) performed a pattern or practice investigation of
BPD covering the years 2010 through 2015 and issued its report in August of 2016. The
investigation found that “BPD officers routinely use unreasonable force against individuals with
mental health disabilities or those experiencing a crisis in violation of the Fourth Amendment.
Additionally, by routinely using unreasonable force against individuals with mental health
disabilities, BPD officers repeatedly fail to make reasonable modifications necessary to avoid
discrimination in violation of Title II of the Americans with Disabilities Act of 1990 (ADA), 42
U.S.C. §§ 12131–12134.”1

Specifically, the Department of Justice found:

        ● Failure to de-escalate. “BPD officers frequently fail to de-escalate encounters with
          unarmed individuals with mental health disabilities and those in crisis. Indeed, their
          tactics often escalate these encounters.”2

        ● Inadequate Program for Crisis Trained Officers to respond. “Instead of requesting
          an officer trained in handling crisis events or a mobile crisis team made up of trained
          mental health professionals, officers handcuff and detain people with mental health
          disabilities and those in crisis and resort too quickly to force without understanding or
          accounting for the person’s disability or crisis.”3 While some officers are trained in
          crisis intervention, “the BPD does not have a protocol requiring that a person with this
          training be dispatched to a crisis call.”4

        ● Unreasonable force was used against persons who had committed no crime.
          Persons in crisis were being taken into custody for the sole purpose of being taken to
          the hospital for evaluation pursuant to an emergency petition.5 The unreasonable uses




1
  Report of Investigation of the Baltimore Police Department, United States Department of Justice, August 10, 2016
(“Findings Report”) at 80. The Findings Report is published at: Baltimore Police Department - Findings Report -
August 10, 2016 (justice.gov)
2
  Id.
3
  Id.
4
  Id.
5
  Id. Under Maryland law any Peace Officer as defined by the statute may petition for an emergency mental health
evaluation if the officer has reason to believe that the person has a mental illness and the individual presents a
danger to the life or safety of the person or of others. MD Code 10-622.


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              of force included Tasers against persons in crisis6 and deadly force against persons in
              crisis.7

         ● Arrests of Persons in Crisis Rather than Treatment. The Department of Justice
           found that “officers resort to arresting individuals with mental health disabilities or in
           crisis in situations where treatment—instead of jail—would more effectively serve the
           goals of public safety and welfare and could prevent the need for unnecessary force.”8

The Department of Justice Report found that these patterns were caused by:

         ● Inadequate policy guidance to officers. Police officers were not provided with
           adequate policy guidance to address encounters with a person in a behavioral health
           crisis, including the absence of policies to “encourage any de-escalation strategies.”9

         ● The failure to train all officers on how to interact with persons with mental health
           disabilities. The BPD lacked training to give officers the tools to identify persons in
           crisis, engage in de-escalation, and determine when to involve mental health
           professionals or crisis intervention trained officers.10

         ● Failure to train 911 dispatchers.11 Dispatchers lacked adequate training to address
           calls regarding persons in a behavioral health crisis and nor when and how to deploy
           crisis trained officers to these calls.

         ● Failure to have a sufficient number of specially trained crisis intervention officers.
           Too few specially trained officers were available to respond to crisis calls. In the
           absence of a sufficient number of specially trained officers, police officers without
           specialized training had fewer options.

         ● The lack of policies to govern the deployment of crisis intervention officers.12 The
           DOJ found that there was no system in place to dispatch crisis intervention trained
           officers to crisis related calls.




6
  Id. at 81–84.
7
  Id. at 84.
8
  Id. at 85.
9
  Id. at 99.
10
   Id. at 81, 109.
11
   Id. at 110.
12
   Id. at 109 – 110.


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         ● Inadequate community-based, non-law enforcement mental health or crisis
           services. The City had inadequate mental health and crisis services and the BPD failed
           to meaningfully partner with existing resources.13

B. Summary of Consent Decree Requirements

The Consent Decree requires that the City and BPD have a comprehensive set of services to reduce
encounters between police officers and persons with mental illness or who are in a behavioral
health crisis and when an officer does encounter a person in a behavioral health crisis that officers
“use appropriate crisis response techniques.”14 The program is required to be designed to prevent
the unreasonable use of force, ensure that people are connected to appropriate behavioral health
services, and reduce criminal justice involvement.15

The Consent Decree requires that BPD “implement a CIT first-responder model of police-based
crisis intervention with community, health care, and advocacy partnerships to assist individuals
with Behavioral Health Disabilities and individuals who are in crisis.”16 The goal of the program
is to provide officers with the skills and training to “properly interact with persons with Behavioral
Health Disabilities or in crisis safely; de-escalate crises and reduce the unnecessary use of force
against individuals with Behavioral Health Disabilities or in crisis; minimize arrests; improve the
safety of patrol officers, individuals with Behavioral Health Disabilities or in crisis and their
families, and others within the community; refer individuals to the City’s behavioral health crisis
system; and reduce the inappropriate involvement of individuals with Behavioral Health
Disabilities with the criminal justice system.”17

Essential to the implementation of the crisis intervention program is that the BPD revise the policy
guidance provided to its officers. Pursuant to the Consent Decree, BPD’s revised policies must
“establish a preference for the least police-involved response possible consistent with public
safety. In situations that do not involve an Emergency Petition, BPD will divert people with
Behavioral Health Disabilities or in crisis to the Behavioral Health service system rather than jail
or a hospital emergency room whenever appropriate.”




13
   Id. at 111-112.
14
   Dkt. 2-2 ¶ 97.
15
   Id.
16
   Id. at ¶ 102.
17
   Id at ¶ 103.


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To achieve these objectives, the Consent Decree requires:

            1. Close Gaps in the Behavioral Health System.

Paragraph 97 of the Consent Decree requires the City to identify gaps in the behavioral health
system, recommend solutions and assist in the implementation of recommended solutions. These
objectives are to be achieved through the Collaborative Planning and Implementation Committee.

            2. Expansion of the Collaborative Planning and Implementation Committee.

The Collaborative Planning and Implementation Committee (“CPIC”) (currently, Baltimore City
Behavioral Health Collaborative) is a working group jointly sponsored by BPD, the City, and
Behavioral Health System Baltimore (“BHSB”). The Committee is comprised of a broad range of
stake holders. Paragraph 104 of the Consent Decree requires BPD to seek to expand CPIC to
encourage membership from a broad range of stakeholders. CPIC has been renamed the Baltimore
City Behavioral Health Collaborative. Throughout the report, this entity is referred to by its new
acronym “BCBHC.” Paragraph 105 requires BPD to encourage BCBHC to identify and implement
programs to reduce encounters between persons with a behavioral health disability and police.

            3. Crisis Intervention Team Program.

The Consent Decree requires that BPD maintain a team of specially trained officers to respond to
calls involving persons in behavioral health crisis. Paragraphs 101 through 105 set out the
requirements for the CIT program.

The program is required to be a “CIT first-responder model of police-based crisis intervention with
community, health care, and advocacy partnerships to assist individuals with Behavioral Health
Disabilities and individuals who are in crisis.”18 The goal of the program is to increase de-
escalation, reduce arrests and criminal justice system involvement, improve safety of officers and
individuals in behavioral health crisis, and connect persons in crisis with behavioral health
resources.19

            4. Crisis Intervention Team.

Paragraphs 106 through 111 establish requirements for Crisis Intervention Team (“CIT”) officers.
CIT officers must receive advanced specialized training to respond to behavioral health crisis calls.
The training is 40 hours in length and in addition to the behavioral health training provided to all
officers. The enhanced training must provide officers with “competence in the following areas:
how to conduct a field evaluation, suicide intervention, community behavioral health and

18
     Id. at ¶ 102.
19
     Id. at ¶ 103.


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Intellectual and Developmental Disability resources, common behavioral health and Intellectual
and Developmental Disability diagnoses, the effects of substance misuse, perspectives of
individuals with Behavioral Health Disabilities and their family members, the rights of persons
with Behavioral Health Disabilities, civil commitment criteria, crisis de-escalation, and scenario-
based exercises.”20

CIT training and designation must be voluntary. To be eligible, officers must have served on the
force for a year and undergone an in-depth assessment of their qualifications.

BPD is required to increase its CIT capacity to ensure that there are adequate numbers of officers
to respond to behavioral health crises on every shift in every district. Absent extraordinary
circumstances, CIT officers are required to respond to all behavioral health calls. Once a CIT
officer is dispatched, she or he will have primary responsibility for the encounter with the person
in crisis.

            5. Crisis Intervention Training for All Officers.

Paragraph 112 requires that BPD provide crisis intervention training for all BPD officers. New
recruits must receive 16 hours of crisis intervention training at the academy and all officers must
receive eight hours of annual in-service training. The training must include topics that will
facilitate lawful and appropriate interactions between police and persons with a behavioral health
or intellectual and developmental disability, including: identification of persons with a disability,
common characteristics and behaviors of persons with a disability, effective communication and
accommodation of a disability, de-escalation, engagement of crisis intervention officers and
available non-law enforcement community resources. This training is for all officers and is not
designed to satisfy the training requirements for Crisis Intervention Team members.

            6. Policy and Training for BPD Dispatchers.

To ensure that calls involving a behavioral health crisis are addressed appropriately, Paragraphs
113 and 114 of the Consent Decree require policy and training for all BPD dispatchers. The
Consent Decree requires that policies be changed “[W]ith the goal of limiting police involvement
in crises where appropriate, calls related to crises that do not necessitate a police response will be
sent to other crisis services, such as a Mobile Crisis Team. When a police response is necessary,
BPD will ensure that dispatchers use all reasonable efforts to dispatch a CIT trained officer to
respond to the call.”21 In addition, all BPD dispatchers will receive training that will “enable them




20
     Id. at ¶ 107
21
     Id. at ¶ 114.


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to identify, dispatch, and appropriately respond to calls for service that involve individuals in
crisis.”22

          7. Crisis Intervention Coordinator.

The Consent Decree requires the appointment of a Crisis Intervention Coordinator “to better
facilitate communication between BPD and members of the behavioral health provider community
and to increase the effectiveness of BPD’s crisis intervention program.”23 The Coordinator will
receive specialized training in addition to CIT officer training,24 select CIT Officers,25 and
development an maintain effective relationships with community-based program stakeholders,
providers, advocates, and others.26

The Crisis Intervention Coordinator will be responsible to develop and implement a Crisis
Intervention Plan. In addition, on an annual basis, BPD is required to conduct an analysis of its
crisis intervention program to ensure that there are adequate CIT officers, they are properly
deployed, calls are properly dispatched, and that the program is operating pursuant to the terms of
the Consent Decree.27

The Crisis Intervention Coordinator must also facilitate compliance with the obligation that BPD
“ensure that CIT officer capacity is sufficient to ensure that, at all times of the day and in all
districts, CIT officers can respond to individuals with Behavioral Health Disabilities and those in
crisis.”28

          8. Data Collection, Analysis, and Reporting.

To determine the effectiveness of the implementation of the provisions of the agreement, the
Monitoring Team is required by the Agreement to conduct a data analysis of “i. The number of
people subject to Emergency Petitions who were eligible for community-based services; ii. The
number of referrals by BPD to community mental health services or to a hospital emergency
room.”29




22
   Id. at ¶ 113.
23
   Id. at ¶ 115.
24
   Id. at ¶ 116.
25
   Id. at ¶ 118
26
   Id. at ¶ 117.
27
   Id. at ¶ 120
28
   Id. at ¶ 119.
29
   Id. at ¶ 459.h.


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C. BPD’s Progress to Date

This report is the Monitoring Team’s first comprehensive assessment of BPD’s efforts to
implement the provisions of the Consent Decree regarding crisis intervention. However, the
Monitoring Team has been tracking BPD’s efforts in this area on an ongoing basis and providing
technical assistance as appropriate to help BPD implement the required reforms.

BPD has taken significant steps to implement the provisions of the Consent Decree. These include:

        First, BPD comprehensively revised its crisis response policies and promulgated policies
        to address the Crisis Intervention Program (Policy 712); Petitions for Emergency
        Evaluations and Voluntary Admission (Policy 713); and Behavioral Health Crisis Dispatch
        (Policy 715).30 The policies were approved by the Monitoring Team and submitted to the
        Court;31

        Second, BPD developed and provided a 24-hour behavioral health awareness training to
        all officers during academy training;

        Third, BPD developed and provided crisis intervention training of at least eight hours to
        all officers during annual in-service training;

        Fourth, BPD developed and provided a 40-hour training for CIT officers (currently
        provided six times a year for new CIT volunteers and for officers that work for other law
        enforcement agencies in Maryland), with an eight-hour annual refresher;32

        Fifth, BPD developed and provided a curriculum for behavioral health training for 911
        specialists and dispatchers;33

        Sixth, BPD completed an analysis of the gaps in behavioral health services, developed an
        implementation plan to address the gaps in services, and published periodic reports on
        progress to implement the implementation plan;34




30
   https://www.baltimorepolice.org/transparency/consent-decree-basics/behavioral-health
31
   Docket No. 247.
32
   https://www.baltimorepolice.org/transparency/bpd-policies/na-crisis-intervention-team-cit-certification-
curriculum (activated June 2021)
33
   https://www.baltimorepolice.org/transparency/consent-decree-basics/behavioral-health
34
   https://www.baltimorepolice.org/transparency/bpd-policies/na-city-baltimore-public-behavioral-health-system-
gap-analysis


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        Seventh, BPD expanded the Collaborative Planning and Implementation Committee and
        engaged community and government stakeholders in various subcommittees to develop
        recommendations to address behavioral health needs of residents;

        Eighth, BPD created a 911 diversion pilot program that directed non-law enforcement
        responders to behavioral health calls under circumstances in which police involvement was
        unnecessary;35 and

        Ninth, BPD has significantly improved its collection, analysis, and publication of data
        regarding behavioral health events and its response to them.

These steps have resulted in positive changes in the interactions between people in behavioral
health crisis and police officers and improved the culture of the department. There continue to be
significant challenges, however, with the development of non-law enforcement response options
and with the recruitment of officers for Crisis Intervention Training. Due to the shortage of CIT
trained officers, it is impossible for BPD to dispatch a CIT officer to every behavioral health call.




35
 https://mayor.baltimorecity.gov/news/press-releases/2022-06-30-mayor-scott-provides-update-9-1-1-diversion-
behavioral-health-pilot


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III.       SCOPE OF REVIEW, METHODOLOGY, AND STANDARD OF REVIEW

This assessment is a Compliance Review (i.e., a qualitative evaluation of BPD performance)
conducted pursuant to Consent Decree ¶ 454. The Monitoring Team has previously described this
assessment type:

           Compliance reviews are . . . evaluations of BPD performance in different areas of
           the Consent Decree. They are conducted with an eye toward determining how far
           BPD has come, and how far it still needs to go, to achieve compliance with
           [particular] Consent Decree requirements . . . . 36

A.         Compliance Scoring

The Monitoring Team, in collaboration with BPD and DOJ, has previously adopted and used a
standardized way of scoring BPD’s performance in its effort to fully implement the Consent
Decree’s many requirements:

           0 – Not Assessed: The Monitoring Team has yet to assess if the City/Department
           has made progress or complied with the requirement.

           1 – Not Started: The City/Department has not yet demonstrated progress toward
           implementing the requirement, possibly in order to work on other, necessary
           projects.

           2 – Planning/Policy Phase: The City/Department is addressing the planning
           and/or policy provisions for the requirement.

           3 – Training Phase: The City/Department is addressing the training provisions for
           the requirement, based on approved policy.

           4 – Implementation Phase: The City/Department is in the implementation phase
           for the requirement, having developed any required plan or policy and conducted
           any required training, but has not yet demonstrated compliance with the
           requirement.

                   4a – Implementation - Not Assessed: The City/Department has initiated
                   the implementation phase for the requirement, but the Monitoring Team has
                   not yet assessed the City/Department’s progress in implementation.



36
     Monitoring Team’s Fourth Semiannual Report, Jan. 21, 2020, Docket No.. 279-1 at 22–23.


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                 4b – Implementation - Off Track: The City/Department is not making
                 satisfactory progress toward compliance with the requirement.

                 4c – Implementation - On Track: The City/Department is making
                 satisfactory progress toward compliance with the requirement.

                 4d – Implementation - Initial Compliance: The City/Department has
                 demonstrated compliance with the requirement but has not yet
                 demonstrated compliance with all requirements of the section of the
                 Consent Decree in which it is included.

        5a – Full and Effective Compliance: The City/Department has demonstrated
        compliance with all requirements in a Consent Decree section but has not yet
        sustained compliance for the time period specified in paragraph 504 of the Consent
        Decree. This score applies only to an entire Consent Decree section, not to
        individual requirements within a section.

        5b – Sustained Compliance: The City/Department has demonstrated sustained
        compliance with all requirements in a Consent Decree section by consistently
        adhering to all such requirements for the time period specified in paragraph 504 of
        the Consent Decree.

The Consent Decree required the City and the BPD to create a comprehensive set of requirements
to ensure that police officers “respond to individuals with Behavioral Health Disabilities and those
in crisis in a manner that respects individuals’ civil rights and contributes to their overall health
and welfare.”37 This assessment reviews the obligations imposed on BPD by Paragraphs 98–122
and 459(h) of the Consent Decree.

B. Determining Initial Compliance

The Consent Decree provides that “[n]o specific numerical test shall be required” to demonstrate
compliance “so long as BPD is demonstrating substantial adherence with the Material
Requirements, continual improvement, and the overall purpose of the Material Requirements has
been met.”38 To determine whether BPD is in Initial Compliance (a score of “4d”) with a material
requirement of the Consent Decree, the Monitoring Team weighs the following factors across the
Consent Decree’s various areas and many requirements:


37
  Id. at ¶ 96.
38
  See Dkt. 2-2 ¶ 506 (indicating that Initial Compliance with any material requirement of the Consent Decree
involves evaluating whether a given requirement “is being carried out in practice by BPD”).


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     1. The quality of BPD’s performance across a material span of
     time, number of incidents/events, and number of officers.
     Successfully carrying out a requirement in practice requires more
     than meeting expectations on one day, in one case or event, or for
     one officer. Instead, it requires that BPD adhere to Decree
     requirements across a material span of time, number and/or portion
     of incidents, and number of officers. In this way, isolated
     compliance does not establish “Initial Compliance” in practice. At
     the same time, however, isolated non-compliance does not, by itself,
     eliminate the possibility of systemic compliance. The issue is
     whether, across time, events, and people, BPD is, in aggregate,
     sufficiently doing what the Consent Decree requires. For some
     requirements that are applicable only to a relatively small absolute
     number of incidents or circumstances, performance in a single
     instance may weigh more significantly than it would in connection
     with a more commonly implicated requirement.

     2. The severity or significance of deviations from Consent
     Decree requirements, BPD policy, and/or law. The Monitoring
     Team considers not simply whether BPD’s performance has
     deviated in some instances from the Consent Decree’s requirements
     but also the severity or significance of that deviation. Several minor
     or more technical deviations from administrative requirements may
     be different in quality than a single significant or gross deviation
     from core requirements for officer performance in the field.
     Likewise, deficient performance in connection with less
     foundational requirements or issues may be different in quality than
     deficient performance in connection with significant requirements
     or issues.

     3. The extent to which BPD is identifying and appropriately
     addressing problematic performance. In its focus on
     accountability, supervision, and mechanisms for fostering critical
     self-analysis within BPD, the Consent Decree expressly
     contemplates that a BPD in compliance with the Consent Decree
     will have mechanisms in place to engage with departmental and
     officer performance that is deficient in some way. Therefore, the
     Monitoring Team’s compliance reviews consider whether, when
     BPD personnel have deviated from policy, law, or Consent Decree
     requirements, the Department has identified the deviation and, if so,



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                  if it has appropriately addressed the issue. With respect to Consent
                  Decree implementation and meaningful organizational change, the
                  Department is in a different condition if a policy deviation is
                  identified and appropriately addressed than if the deviation goes
                  unnoticed and unaddressed.

                  4. BPD’s progress over time. Where possible, the Monitoring
                  Team aims to situate its evaluation of BPD’s performance in terms
                  of progress over time. Steady improvement may suggest positive,
                  meaningful adoption of Consent Decree requirements in a way that
                  erratic swings in performance over time may not.

Courts regularly apply multi-factor approaches where the application of determinative, bright-line
rules are impossible, do not adequately incorporate the array of relevant circumstances at issue, or
fail to adequately address competing considerations.39 Even as the test articulated above requires
different considerations to be weighed together, the test is an “objective” one because the
Monitoring Team “must explain how they derived their conclusions from the verifiable facts.”40

In applying this multi-factor test for compliance, the first factor —the quality of BPD’s
performance across a material span of time, number of incidents/events, and number of officers—
is the initial, threshold inquiry. If BPD and/or its officers’ performance is not what it should be
across a sufficient number or portion of relevant circumstances, then things like progress over time
or BPD’s identification of the issues are unlikely to cure the basic deficiencies with performance.
For example, if BPD meets some Consent Decree requirement in only 25% of cases, the fact that
it may have marked an improvement over time would be unlikely to put the Department into
compliance with the requirement.

Although the multi-factor test for compliance works to ensure that all relevant objective factors
are reasonably weighed, the Monitoring Team seeks to provide guidance to the Department and to
the community about the benchmarks that it expects and how various levels of BPD performance
may shape compliance determinations.

As a working standard, the Monitoring Team considers a compliance rate with any relevant
requirement of 85% or above as possibly, though certainly not conclusively or even presumptively,

39
   See, e.g., Murr v. Wisconsin, 582 U.S. __ (2017) (adopting a multi-factor test for determining whether governmental
regulations effectuated a decline in the value of private property so as to be considered a government taking under the
Fifth Amendment); EBay v. MercExchange, 547 U.S. 388 (2006) (applying a four-factor test to determinations about
permanent injunctive relief in disputes arising under the Patent Act); Mathews v. Eldridge, 424 U.S. 319 (1976)
(articulating three factors for courts to consider when determining whether additional governmental and/or judicial
procedures are necessary to satisfy the Due Process Clause).
40
   James G. Wilson, “Surveying the ‘Forms of Doctrine’ on the Bright Line Balancing Test Continuum,” 27 Ariz. St.
L.J. 773, 802 (1995).


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consistent with initial compliance. In such instances, the Team weighs the other factors (severity
of deviations, BPD’s identification of noncompliance, and progress over time). Where the Team
determines that BPD has adhered to expectations in 95% or more of relevant circumstances, initial
compliance will be found unless one of the other factors – severity of deviations, Department
identification of noncompliance, and progress over the time – starkly point in the other direction.

On the other hand, where BPD has adhered to expectations less than 85% of the time, initial
compliance will not be certified unless one of the other factors points definitively in a positive
direction. For instance, if BPD complied with requirements in 80% of relevant circumstances but
the Monitoring Team could certify that the significance or severity of instances where
requirements were not followed was relatively minimal, that BPD identified and took appropriate
corrective action in instances where requirements were not followed, and the Department had
made and maintained progress over time, then finding initial compliance with the Consent Decree
requirement may be possible.

Additionally, some important requirements apply to, or are activated by, a relatively more limited
number of encounters, incidents, or circumstances. Where the absolute number of instances where
the requirement applies becomes lower, the application of the percentage-based rules of thumb for
determining compliance becomes less useful.

Finally, it is possible that, the Monitoring Team might assign, pursuant to the weighing of factors
outlined above, a score for an individual decree requirement that is lower than the score given in
a prior report. For instance, the score for a particular requirement might move from “4c”
(implementation—on track) to “4b” (implementation—off track).

However, the Monitoring Team has recognized that these provisions cannot simply be about
policy; they are also about performance—about BPD demonstrating adherence to policy.
Accordingly, to establish initial compliance with these provisions and ultimately to sustain “full
and effective” compliance pursuant to Paragraph 506, BPD not only must show that it has adopted
the pertinent policies, but also must demonstrate through officers’ actions on the street and in the
real world that, as an agency, it is complying with the policies. Otherwise, the reforms the Consent
Decree requires would be nothing more than “paper” reforms, with no obligation to police
constitutionally in actuality.

C. Methodology

To assess the provisions of the Consent Decree that apply to BPD, the Monitoring Team engaged
in the following:

First, the Monitoring Team reviewed a sample of crisis intervention incidents. The sample was
selected from behavioral health incidents in which a Behavioral Health Form was completed by



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an officer that occurred during the period from January 1, 2022 through December 31, 2022. BPD
policy requires all officers who respond to a behavioral health or suicide call to complete a
Behavioral Health Form.41 Prior to June 29, 2021, Behavioral Health Forms were completed only
for calls in which a police officer filed an emergency petition for a mental health evaluation. As a
result, prior to this change, other relevant behavioral health events that did not result in an
emergency petition, but for example, led to medical treatment, referral to a community provider,
or resulted in a voluntary admission to the hospital were not captured on the form.

In addition, in July of 2021, BPD transitioned to a new record management system which allowed
officers to digitally document behavioral health and behavioral health crisis events. The electronic
record facilitated a more thorough and effective review by the Monitoring Team. Because of these
two changes in the policy and practice, January 1, 2022 was selected as the beginning date for the
assessment.

During the period of January 1, 2022 through December 31, 2022, officers completed 4,519
Behavioral Health Forms. As part of the assessment, members of the Monitoring Team reviewed
a random sample of incidents in which an officer completed a Behavioral Health Form. Every
Behavioral Health Form in the study period was numbered sequentially and a random selection
applied. A total of 95 incidents in which a Behavioral Health Form was completed were selected.
This sampling method generated results at a 95% confidence level with a margin of error of plus
or minus 10%.42

The Monitoring Team members reviewed the complete file for each incident, including the
Behavioral Health Form, body worn camera video, and the officer’s report of the incident. The
review assessed whether the goals of the crisis intervention program and training was achieved.
The results of each review were recorded on a standardized instrument.

In particular, the Monitoring Team members assessed whether officers:

         ● De-escalated crises and reduced the unnecessary use of force;
         ● Minimized arrests;
         ● Improved the safety of patrol officers, individuals with Behavioral Health
           Disabilities or in crisis and their families, and others within the City’s
           behavioral health crisis system;
         ● Reduced the inappropriate involvement of individuals with Behavioral Health
           Disabilities with the criminal justice system; and

41
   Crisis Intervention Program Policy 712.
42
   A 95% confidence level with a 10% margin of error means that an assessment of a different random sample of
crisis intervention events from the same time period will yield a result within 10% ninety-five percent of the time.
See, e.g., National Institute of Science and Technology Engineering Statistics Handbook 7.1.4. 7.1.4. What are
confidence intervals? (nist.gov).


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       ●   Whether CIT officers that have been dispatched to the incident are taking
           primary responsibility, and if a supervisor took responsibility instead, whether
           they are seeking input from the CIT officer.

There is a set of calls that were coded by dispatchers as behavioral health calls, but the officer did
not complete a Behavioral Health Form. There are many reasons why a form might not have been
completed for the call, including the person was not found, EMS or another responder addressed
the call, the person was not in behavioral health crisis, or the officer inappropriately failed to
complete the form. his group of calls was not reviewed as part of this assessment.

Second, several of the Consent Decree provisions required the review of policies and training
curricula. Many of the policies and curricula had already been reviewed and approved by the
Monitoring Team and submitted to the Court. This is noted in the assessment of the relevant
paragraphs.

Third, the behavioral health lead of the Monitoring Team engaged extensively with BPD and
others throughout the development of the program. Monitoring Team members participated in
curriculum development and observed all initial training sessions for recruits, in-service training
sessions for all officers, 40-hour training sessions for CIT Officers, and 911 call-takers and police
dispatchers. In addition, Monitoring Team members attended community meetings and workshops
on the status of behavioral crisis care in Baltimore, met with local, state and national advocacy
groups in listening sessions, attended weekly and bi-weekly BCBHC Policy, Training, Data, and
Gap Analysis Committee meetings, and met with members of the Baltimore judiciary system.
Monitoring Team members participated in discussions with local mental health providers and
attended an on-site overview of the Baltimore Crisis Response Agency. They observed training
sessions for specialized BPD programs such as the Homeless Outreach Team (“HOT”), the Law
Enforcement Assisted Diversion (“LEAD”), and the Co-Responder Team (“CRT”) and 911 call-
takers and police dispatchers. In addition, the Monitoring Team conducted interviews with BPD
personnel responsible for the CIT program and engaged in ride-a-longs with CIT trained officers.

Fourth, the Monitoring Team reviewed data regarding the training and assignment of CIT officers,
CIT officer recruitment materials, reports of the Collaborative Planning and Implementation
Committee; biannual reports of the BCBHC Data Subcommittee, and other reports and data
prepared by BPD to demonstrate its compliance with the Consent Decree.




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IV.    COMPLIANCE ASSESSMENT

The following is a paragraph-by-paragraph assessment of BPD’s implementation of Consent
Decree paragraphs 96 – 122, 459(h)(i) and 459(h)(ii).

A.     Paragraph 96 – Goals of Consent Decree Provisions Related to Responding to and
       Interacting with People with Behavioral Health Disabilities or in Crisis

               BPD is committed to responding to individuals with Behavioral
               Health Disabilities and those in crisis in a manner that respects
               individuals’ civil rights and contributes to their overall health and
               welfare. Ensuring that BPD uses appropriate crisis response
               techniques when responding to individuals with Behavioral Health
               Disabilities or in crisis will help prevent situations that could lead
               to unreasonable use of force, promote connection of people with
               Behavioral Health Disabilities or in crisis to the behavioral health
               system, and decrease inappropriate criminal justice involvement for
               people with Behavioral Health Disabilities or in crisis.

Paragraph 96 sets out the goals and objectives of the provisions that follow. The paragraph
provides important information for interpreting the succeeding provisions and serves as a
statement of objectives and purpose for the many, specific terms in this section. However, it does
not contain specific, actionable requirements that BPD or the City must fulfill. Thus, the
Monitoring Team did not assess this provision directly as part of its review.

B. Paragraph 97 – Consent Decree Obligations of the City

               The City will coordinate with the Collaborative Planning and
               Implementation Committee (“CPIC”) to conduct an assessment to
               identify gaps in the behavioral health service system, recommend
               solutions, and assist with implementation of the recommendations
               as appropriate. The assessment will include an analysis of a sample
               of police interactions with people with Behavioral Health
               Disabilities to identify systemic barriers and solutions, including
               what precipitated the crisis, what services could have prevented the
               crisis, how police became involved, how the response to the crisis
               could be improved, and what can be done to prevent the crisis in the
               future. The analysis will include identifying gaps in Behavioral
               Health Disability services (including assertive community
               treatment, permanent supported housing, targeted case
               management, crisis services, and substance use disorder services),


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                   problems with the quality or quantity of existing services, and other
                   unmet needs that lead to preventable criminal justice system
                   involvement.

The Monitoring Team defers evaluation of the City’s compliance with Paragraph 97 until a future
assessment. However, in reviewing the compliance of BPD with its obligations under the Consent
Decree, it is apparent that there are inadequate behavioral health services in the City to prevent
persons from going into crisis and to respond to persons in crisis. The dearth of non-police
resources has an impact on the ability of the BPD to respond to behavioral health calls and come
into compliance with the Consent Decree. Thus, by necessity, this assessment will include
references to the steps that the City has taken, and the remaining efforts that will be needed to be
taken, for the City to provide additional behavioral health resources to meet the needs of its
residents.

Despite the continuing gaps in services, Baltimore has made some progress. The pilot 9-1-1
diversion program and the implementation of the 9-8-8 suicide prevention line has likely increased
the number of calls that are resolved without law enforcement involvement and reduced the
number of calls involving a behavioral health crisis that go to BPD.43

C. Paragraph 98 – Revision of Crisis Intervention Policies

                   BPD will revise its policy to establish a preference for the least
                   police-involved response possible consistent with public safety. In
                   situations that do not involve an Emergency Petition, BPD will
                   divert people with Behavioral Health Disabilities or in crisis to the
                   Behavioral Health service system rather than jail or a hospital
                   emergency room whenever appropriate.

BPD implemented its crisis intervention policies in June of 2021, which included Policy 712
(Crisis Intervention Program), Policy 713 (Petitions for Emergency Evaluation and Voluntary
Admission), and Policy 715 (Behavioral Health Crisis Dispatch), which the Monitoring Team had
approved and submitted to the Court in 2019. These three policies proceeded through a second set
of revisions and refinements in September of 2022, and were approved by the Monitoring Team
on June 22, 2023. The review and approval by the Monitoring Team of these policies previously,
combined with the Monitoring Team’s findings of BPD personnel performance during crisis
encounters summarized below, support a compliance finding of Initial Compliance (4d). As
noted below, certain aspects of the policy have not yet been implemented in practice.




43
     Behavioral Health Gap Analysis Implementation Plan Report 2022.


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D. Paragraph 99 – Person in Behavioral Health Crisis Defined

                 A person may be suspected of having a Behavioral Health Disability
                 or being in crisis from a number of factors including self-report,
                 information provided by witnesses or informants to dispatch or to
                 BPD officers, from BPD’s previous knowledge of the individual, or
                 the officer’s direct observation.

Paragraph 99 defines the persons who are intended to be covered by the crisis intervention
provisions of the Consent Decree. The provision does not contain actionable terms; however, it
does inform the assessment of the remaining terms and is assessed in the context of the
implementation of those provisions. As discussed below, the Monitoring Team’s assessment
supports a finding of Initial Compliance (4d) with Paragraph 99.

E. Paragraph 100 – Officers Trained not to Assume that Persons in Behavioral Health Crisis
   are Dangerous

                 Officers will be trained to not make assumptions regarding the
                 dangerousness of an individual based on that individual’s disability.

Crisis intervention training was approved by the Monitoring Team in September of 2021.44 The
Monitoring Team assessed the impact of the training on officer conduct during behavioral health
calls as part of its assessment of paragraphs 107, 108, 112, and 113. As is discussed elsewhere in
this assessment, the training has had an observable, positive impact on officer behavior and on the
culture of BPD and the observed behavior of officers reflected that they do not make assumptions
regarding the dangerousness of individuals based on their disability. The Monitoring Team
therefore finds that BPD is in Initial Compliance (4d) with Paragraph 100.

F. Paragraph 101 – Option to Continue the BEST Program

                 BPD currently operates the BEST program for responding to
                 individuals in crisis. BPD may continue to utilize the BEST program
                 as its CIT program, as long as the BEST program meets the
                 obligations of this Agreement.

Prior to the Consent Decree, the Behavioral Emergency Services Team (“BEST”) program
provided training to officers on how to interact with persons in behavioral health crisis. BPD
discontinued the BEST program. The BEST program, unlike CIT, was not voluntary and officers
were sent to the training to develop skills even though many may not have been suitable to be CIT

44
  Dkt. 247. BPD has posted the training curriculum online at Crisis Intervention Team (CIT) Certification
Curriculum | Baltimore Police Department.


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officers. Since there had been no screening for BEST training and the approved CIT training was
substantially different than BEST, BPD determined that it would require all CIT officers to
participate in the Court-approved training and BEST trained officers were not grandfathered into
the CIT program. This provision is not applicable to the current dynamics in Baltimore and is,
therefore, not a part of this assessment.

G. Paragraph 102 – CIT First Responder Model

                 BPD will implement a CIT first-responder model of police-based
                 crisis intervention with community, health care, and advocacy
                 partnerships to assist individuals with Behavioral Health
                 Disabilities and individuals who are in crisis.

The Monitoring Team’s assessment reveals that BPD has made substantial progress in creating a
CIT first-responder model. This progress includes the development of a comprehensive policy that
establishes as its objectives:

        ● Strategies for de-escalating crises and connecting individuals to community
          resources that provide appropriate services;
        ● Appropriate use of hospital emergency services only after less restrictive
          alternatives have been considered;
        ● Opportunities for diversion from the criminal justice system;
        ● Methods for addressing the long-term needs of individuals and families in order
          to provide for the least police-involved response.45

As is discussed below, the program has dramatically changed the nature of encounters between
people with behavioral health disabilities or who are in behavioral health crisis and BPD officers.
These encounters, except in rare circumstances, minimize force, apply de-escalation techniques,
avoid arrests and incarceration, and respect the dignity of the person involved.

While BPD has instituted a CIT model and associated policies, training, and dispatch services, two
significant barriers stand in the way of the full and effective execution of that model, as discussed
more fully in the analysis of other paragraphs, below.

First, BPD has far too few CIT officers—or officers who volunteer46 to receive “at least 40 hours
of specialized training”47 and who are dispatched to assume “primary responsibility”48 on calls
involving individuals who may be in crisis—to cover every District for every shift. As a result, the


45
   Crisis Intervention Program Policy 712.
46
   Dkt. 2-2 ¶ 108.
47
   Dkt. 2-2 ¶ 107.
48
   Dkt. 2-2 ¶ 111.


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majority of behavioral health calls are handled by regular patrol officers who are not specially
CIT-trained.

Second, inadequate non-law enforcement response options result in BPD officers responding to
calls that could or should be addressed by a community behavioral health care provider. Too
frequently, officers are given only the limited options of an emergency petition or voluntary
hospital admission to address the needs of a person in crisis, resulting in institutionalization of
individuals who might have been treated in the community and unnecessary law enforcement
involvement.

The Monitoring Team also notes that a gap analysis completed by the Collaborative Planning and
Implementation Committee (now BCBHC) identifies four recommendations for BPD:

        Conduct deeper exploration into the reasons CIT-trained officers are not responding
        to behavioral health calls at higher rates;

        Make officer training efforts an ongoing process, with all officers receiving CIT
        training;

        Ensure that officers are using existing community-based alternatives to
        E[mergency] P[etitions]s such as residential crisis beds, and other diversion
        services need to be developed within the system of care; and

        Officers need to interact with individuals in the manner they themselves would like
        to be treated during a time of distress. This would mean treating all individuals
        encountered with respect and understanding, and not immediately discounting
        information shared simply because an individual has a behavioral health disorder.49

These recommendations align closely with the provisions of the Consent Decree and, to the extent
that they are required by the Consent Decree, were assessed in this review. Despite BPD having
failed to recruit and screen sufficient numbers of CIT officers as required by the Consent Decree,
the Monitoring Team has designated this provision as Initial Compliance (4d) due to the effective
resolution of behavioral health calls by regular, non-CIT officers that is discussed in detail in
relation to Paragraph 103 (Section H), below. The Monitoring Team finds below that—with
respect to Paragraphs 108, 109, and 110—BPD is not meeting Consent Decree requirements to
recruit, screen, and train specialized CIT officers in sufficient numbers and has indicated a lower
compliance score for those paragraphs.



49
 Baltimore Public Behavioral Health System Gap Analysis, Final Report, October 2019 at 8-9, 82-90. (Hereinafter
“Gap Analysis”).


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H. Paragraph 103 – Goals of the CIT program

               The goals of the CIT program will continue to be to equip police
               officers with methods to properly interact with persons with
               Behavioral Health Disabilities or in crisis safely; de-escalate crises
               and reduce the unnecessary use of force against individuals with
               Behavioral Health Disabilities or in crisis; minimize arrests;
               improve the safety of patrol officers, individuals with Behavioral
               Health Disabilities or in crisis and their families, and others within
               the community; refer individuals to the City’s behavioral health
               crisis system; and reduce the inappropriate involvement of
               individuals with Behavioral Health Disabilities with the criminal
               justice system.

To assess implementation of Paragraphs 102 and 103 of the Consent Decree, the Monitoring Team
reviewed 95 crisis intervention calls that occurred from January 1, 2022 through December 31,
2022 out of a total of 4,519 events in which an officer completed a Behavioral Health Form. This
random incident review yields a 95% confidence level with a 10% margin of error.

The Monitoring Team’s review of its sample of incidents in which a Behavioral Health Form was
completed identified the following over-arching trends and themes:

        First, officers responding to behavioral health calls were generally handling them
well. In the overwhelming majority of cases, officers used de-escalation rather than force and
where force was applied, it was at a low-level, and treated the person with dignity and respect. The
performance of officers does not diminish the need for CIT officers.

        Second, there are insufficient numbers of CIT trained officers to respond to every
crisis call. In the sample reviewed by the Monitoring Team, CIT officers were present for fewer
than a third of the calls.

        Third, officers rarely called for community-based services other than an ambulance
to transport a person in behavioral health crisis to the hospital. Extensive review of body-
worn-camera video found very few instances in which officers even considered calling for mobile
crisis or other services and when they did discuss calling for mobile crisis they were deterred by
the potential of hours-long wait times. The Monitoring Team will assess the availability of
behavioral health services in a future assessment of paragraph 97 of the Consent Decree.

       Fourth, most behavioral health calls resulted in the person in crisis being taken to the
hospital pursuant to an emergency petition or for a voluntary admission. It appears from the




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incident review that officers had few options available to refer to services that would avoid
institutionalization, even if for a brief period.

While patrol officers are not “CIT officers” who receive the 40-hour training, their work on
behavioral health calls is nevertheless a key part of the CIT program. The patrol officers’
performance on behavioral health calls as assessed by the Monitoring Team outweighs the other
factors and warrants a finding of compliance in this area. More specifically, the behavioral health
incident review conducted by the Monitoring Team found:

           1. Demographics of Persons in Behavioral Health Crisis

Of the incidents reviewed it was nearly evenly split by gender, with 54.7% of the calls involving
a person whose gender was male and 44.2% whose gender was female and 1.1% unknown.50 More
than 70% of the incidents involved a person who is Black and 23% involved a person who is white
with a small number identifying by other races or ethnicities. The sample of cases that the
Monitoring Team reviewed closely aligns with the demographics reported by BPD in the
Collaborative Data Subcommittee Biannual Report for all crisis calls over the same period.51

Twenty-one percent were 17 years of age or younger. Nearly 33% of the persons in behavioral
health crisis were between 18 and 29, 21.1% between 30 and 39, 11.6% between 40 and 49, 5.3%
between 50 and 59, and 8.4% were 60 years old or older. In several of the incidents reviewed by
the Monitoring Team, the person in behavioral health crisis was in a residential mental health or
substance abuse program, and BPD was called by the provider—thus limiting the ability of BPD
to seek assistance from another community-based resource. Additionally, some 47 of the 95 calls
reviewed involved a person who had threatened or attempted self-harm. Some of these instances
were complex, indicating the need for a CIT trained officer, as the involved individual was actively
engaged in potentially dangerous behavior. The Monitoring Team reviewed cases in which persons
attempted to consume dangerous substances in the presence of the officer or were holding or in
close proximity to a knife.

Amongst the cases reviewed were calls directed for a police response where the sole basis for the
call was that the person expressed suicidal ideation. In two cases reviewed, a person called 9-1-1
to request transportation to the hospital because they had suicidal thoughts. In both cases, the
officers arrived to find the person calm and cooperative, and police services were limited to
transporting the person. These calls tied up two officers on each occasion for a significant period
of time.




50
     Transgender persons are listed according to the gender to which they indicate that they identify.
51
     Collaborative Biannual Report at 11.


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         2. Officers Responding to the Scene

A CIT officer was on the scene in fewer than one-third (31.6%) of cases reviewed. Supervisors
responded to the scene 24.2% of the time and, of the supervisors who were present, 21.7% were
CIT trained. In more than half of the incidents (54.7%) neither a CIT officer nor a supervisor was
on the scene. In 36.8% of the cases, either a CIT trained officer or supervisor was present and in
more than eight percent of the cases, both a supervisor and a CIT officer were present. In few
instances (only 8.4% of reviewed cases) did an officer call for additional resources, including a
CIT officer, a Crisis Response Team (CRT),52 or a behavioral health provider. Even when CIT
officers were present, they did not necessarily control the interaction with the person in crisis.

Behavioral health crisis calls consume significant officer resources. The time spent responding to
calls can last hours and often require multiple officers to be present. To this end, BPD estimates
that the average behavioral health call in the period of July through December 2022 was 83 minutes
in length.53

Additionally, multiple officers frequently are required to respond to incidents implicating
behavioral health challenges due to the circumstances of the call. In 31.2% of the calls reviewed,
four or five officers responded, and one call had 16 officers at the scene. A single officer responded
in 7.4% of cases.

         3. Presence of Co-Responders

In slightly more than half of the cases reviewed (55.8%), there was a co-responder at the scene. In
all but a single case, the co-responder was the Baltimore City Fire Department, who supported the
efforts of BPD to effectively resolve the situation. In one case, a private ambulance responded. In
none of the cases reviewed was there a response by a mobile crisis team. In one case reviewed, the
Crisis Response Team was called and successfully de-escalated a complex situation involving a
youth with intellectual disabilities who was threatening his mother with a knife. (The Crisis
Response Team is a “specialized unit comprised of CIT certified officers and licensed Mental
Health professionals who respond in pairs to persons in Crisis and highly complex and/or
emotionally heightened situations.”54)




52
   The Crisis Response Team is a co-responder model initiative of BPD. The team consists of a CIT trained officer
and a mental health provider. It is notable that the CRT has the capacity to add another team if BPD created a
position for another officer assigned to the effort. Baltimore Crisis Response, Inc. has made an additional clinician
available.
53
   Collaborative Biannual Report at page 9.
54
   Crisis Intervention Program Policy 712 at 3.


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        4. De-escalation

The Monitoring Team’s review of the body-worn camera video of incidents in the random sample
of crisis intervention incidents revealed that officers appropriately engaged in de-escalation in
approximately two-thirds of the cases to help secure compliance by the individual. In most of the
remaining cases, officers used de-escalation techniques to help keep the person calm and
cooperative. In only four instances (4.2% of cases) did the Monitoring Team conclude that
additional de-escalation techniques should have been attempted by the officers but were not. In
two cases, due to the absence of body-worn camera video, the Monitoring Team was unable to
determine if the officer engaged in de-escalation.

The most frequent forms of de-escalation that officers used during crisis incidents included
communication and verbal persuasion (64.7%), slowing the pace of events (46.3%), creating
distance (14.7%), warnings (9.5%), and using physical barriers (4.2%). In several cases officers
contacted the mental health provider of the person in behavioral health crisis.

The Monitoring Team’s findings in this regard are consistent with BPD’s own assessment. The
Collaborative Biannual report for the second half of 2022 concluded that de-escalation was used
in 63% of behavioral health incidents with officers using verbalization de-escalation more than
50% of the time.55 This conclusion is likely an undercount, as the Monitoring Team observed
officers maintaining calm by using techniques that they learned in crisis intervention training.

        5. Use of Force

Officers responding to behavioral health calls were able to resolve the situation without the use of
force in 88.4% of the incidents reviewed by the Monitoring Team. Force was used in only 11 of
95 cases, or 11.6% of the total cases. In ten of those 11 incidents (90.9% of the force used in
reviewed crisis incidents) was low-level, Level 1 force.56 In the remaining case, the force was

55
  Collaborative Biannual Report at 15.
56
  Level 1 uses of force involve the lowest force. They are defined in BPD policy, consistent with Consent Decree
requirements, as:

                  Level 1 Use of Force — Includes:
                      ● Using techniques that cause Temporary Pain or disorientation as a
                          means of gaining compliance, hand control or escort techniques (e.g.,
                          elbow grip, wrist grip, or shoulder grip),and pressure point compliance
                          techniques. Force under this category is not reasonably expected to
                          cause injury,
                      ● Pointing a firearm, Less-Lethal Launcher, or CEW at a person,
                      ● “Displaying the arc” with a CEW as a form of warning, and
                      ● Forcible takedowns that do not result in actual injury or complaint of
                          injury.
Use of Force, Policy 1115 (activated November 2019).



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Level 2.57 None of the Level 1 uses of force reviewed involved the use of a weapon, a takedown,
or a pain technique. All were applied to restrain the person in behavioral health crisis or to prevent
the person from engaging in self-harm. For example, in one incident reviewed, officers used a low-
level (level 1) amount of force to restrain a person from drinking dangerous chemicals. The single
Level 2 use of force was a take down and the application of body weight on the legs of the person
in crisis in order to restrain the person to apply handcuffs.

For the cases reviewed, the justifications inventoried in Table 1 for the use of force were present:58

Table 1.            Justifications for Use of Force in Crisis Incidents

                      Person was armed                                                   1

                      Person was harming self                                            1

                      Person was threatening harm to self                                2

                      Person was harming others (civilians)                              1

                      Person was threatening harm to others (civilians)                  5

                      Person was threatening harm to others (civilians and 1
                      Police)


57
 Level 2 uses of force are more serious than level 1 uses of force, but not the most serious uses of force. Per the
Decree and BPD policy, a level 2 use of force includes:

                    ●    Force that causes or could reasonably be expected to cause an injury greater
                         than Temporary Pain or the use of weapons or techniques listed below —
                         provided they do not otherwise rise to a Level 3 Use of Force:
                    ●    Discharge of a CEW in Drive-Stun or Probes Deployment, in the direction
                         of a person, including where a CEW is fired at a person but misses,
                    ●    Use of OC spray or other Chemical Agents,
                    ●    Weaponless defense techniques including, but not limited to, elbow or
                         closed fist strikes, open hand strikes, and kicks,
                    ●    Discharge of a Less-Lethal Launcher/Munitions in the direction of a person,
                    ●    Canine-inflicted injuries that do not rise to a Level 3 Use of Force,
                    ●    Non-weapon strikes to the head, neck, sternum, spine, groin, or kidney area,
                         and
                    ●    Striking of a person or a vehicle with a vehicle that does not rise to Level 3
                         Use of Force.

           Use of Force, Policy 1115 (activated November 2019).

58
     The justifications add up to more than 11 because multiple justifications exist for some incidents.



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                   Person was harming police                                           3

                   Prevent the person from injuring himself after sedation 1

                   Person was threatening harm to police                               4

                   Resisting officer                                                   2



Of the eleven incidents evaluated in which force was used, in only one incident did the Monitoring
Team determine that the use of force was improper. In none of the cases reviewed was the person
or the officer injured by the use of force.59 Further, the Monitoring Team identified no instances
in which force was used in a retaliatory or discriminatory manner, or after the person was
restrained.

         6. Outcomes of the Encounter

Despite the Consent Decree requiring that “BPD will divert people with Behavioral Health
Disabilities in crisis to the Behavioral Health service system rather than jail or a hospital
emergency room whenever appropriate,”60 the vast majority of calls result either in an emergency
petition or a voluntary admission to the hospital. Of the 95 incidents reviewed, 85 resulted in either
the officer preparing an emergency petition (64 instances) or the person being taken to the
emergency room for a voluntary admission (21 cases). In the remaining 10 cases, the person was
either taken into custody pursuant to a court-ordered emergency petition, was taken to the hospital,
evaluated and released into police custody, or was not on the location and a missing person’s report
was filed. In only two cases did the incident resolve with the person being treated by their existing
mental health provider in the community as opposed to transporting the person to the hospital.

Of the incidents reviewed by the Monitoring Team, most of the persons in behavioral health crisis
did not threaten or attempt harm to others. The most common reason for the call was self-harm or
the threat of self-harm. Forty-nine of the 95 incidents reviewed involved a suicide attempt or threat.

Of a total of 4,519 behavioral health-related incidents in which the Behavioral Heath Form was
completed 3,011 (66.5%) events resulted in a Petition for Emergency Evaluation (Emergency
Petition). Emergency Petitions were issued by the court in 358 (11.9%) events, by the mental health
professionals in 275 crises (9.1%), and in 1,465 incidents (48.7%) the Emergency Petition was
issued by the responding officer. In a total of 913 (30.3%) Emergency Petitions, the record does

59
   In one case, the person who called the police reported that she had been hit by a thrown bottle, but that occurred
before the police arrived.
60
   Dkt. 2-2 ¶ 98.


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not indicate the issuing official. More than 550 calls resulted in the person being taken to the
emergency room for either a voluntary admission (301) or for medical treatment (256).

        7. Crisis Calls Without a Behavioral Health Form

There is a group of incidents in which dispatchers coded the initial call as involving behavioral
health, but the officer did not complete a Behavioral Health Form. In a future assessment, the
Monitoring Team will need to review statistically-significant sample of calls dispatched as crisis
calls but lacking a Behavioral Health Form. Part of this assessment will focus on determining
whether the dispatched calls should have resulted in a Behavioral Health Form or if there was some
other reason why no Behavioral Health Form was completed – because, for instance, another
provider was on the scene, the person could not be located, or the person was not in behavioral
health crisis.

        8. Conclusion

In sum, the Monitoring Team’s review of a statistically significant sample of behavioral crisis
incidents finds that BPD has reached Initial Compliance (4d) with Paragraph 103. The encounters
reviewed demonstrated that BPD officers have systematically incorporated BPD policy and
training into their interactions with persons in behavioral health crisis.

I. Paragraph 104 – Collaborative Planning and Implementation Committee Expansion

                BPD will seek to expand the membership of CPIC by encouraging
                representation from the Maryland Department of Health and Mental
                Hygiene; judges from the Baltimore City Mental Health Court;
                Baltimore City State’s Attorney’s Office; Office of the Public
                Defender for Baltimore      e jails that serve Baltimore City; other
                relevant Baltimore City officials; Disability Rights Maryland (the
                federally-designated Protection & Advocacy organization);
                community mental health providers; substance use services
                providers; local hospitals; and advocates. CPIC will also include
                the Crisis Intervention Coordinator and Behavioral Health Services
                Baltimore.

BPD expanded BCBHC to include a broad cross section of governmental and provider
stakeholders. The expanded BCBHC membership was approved by the Monitoring Team and
submitted to the Court April 2018.61 It is worth noting that since the effective date of the Consent


61
  Notice of Approval of Initial Expansion of CPIC Membership Under Paragraph 104 of the Consent Decree
(Docket No. 108)(April 25, 2018).


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Decree, BCBHC has played an active role through the subcommittees on policy, training, data,
and gap analysis.

Given the confirmed, expanded membership and ongoing work of BCBHC, the Monitoring Team
finds BPD in Initial Compliance (4d) with Paragraph 104.

J. Paragraph 105 – CPIC (BCBHC) Recommendations and Implementation

               BPD will encourage CPIC to identify and implement, as
               appropriate, strategies to reduce the number of people with
               Behavioral Health Disabilities who have unnecessary encounters
               with the police, consistent with the City’s and BPD’s goals of
               promoting public health, welfare, and safety.

Paragraph 105 was not included as part of this assessment. It will be assessed when the Monitoring
Team assesses the City’s implementation of Paragraph 97. BCBHC has issued a series of reports
and recommendations that can be found at https://consentdecree.baltimorecity.gov/collaborative-
planning-and-implementation-committee.

K. Paragraphs 106 and 107 – Crisis Intervention Team Officer Training

               106. BPD will provide enhanced, specialized training in responding
               to individuals in crisis to certain officers (“CIT officers”). All
               officers will receive some intervention training for responding to
               individuals in crisis; that training is separate and distinct from the
               training and qualifications required to be a CIT officer. CIT officers
               will continue to be assigned to the patrol division and will maintain
               their standard patrol duties, except when called upon to respond to
               incidents or calls involving individuals in crisis.

               107. The enhanced training for CIT officers will be at least 40 hours
               of in-person training. This enhanced training will be adequate for
               officers to achieve competence in the following areas: how to
               conduct a field evaluation, suicide intervention, community
               behavioral health and Intellectual and Developmental Disability
               resources, common behavioral health and Intellectual and
               Developmental Disability diagnoses, the effects of substance
               misuse, perspectives of individuals with Behavioral Health
               Disabilities and their family members, the rights of persons with
               Behavioral Health Disabilities, civil commitment criteria, crisis
               deescalation, and scenario-based exercises. This training must



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                 include on-site visits to mental health, substance use, and
                 Intellectual and Developmental Disability community programs and
                 interaction with individuals with Behavioral Health Disabilities.
                 CIT officers must receive eight hours of annual in-service training
                 on responding to individuals in crisis to maintain their expertise and
                 skills as specialized CIT officers.

BPD has developed, and the Monitoring Team has previously approved, a CIT officer training
curriculum.62 The curriculum addresses each of the topics required by Paragraphs 106 and 107.
The Monitoring Team observed the training at various intervals and found the quality of the
instruction and implemented training to be high. Additionally, the Monitoring Team’s review of
BPD training records confirms that all CIT officers have completed the training curriculum.
Consequently, the Monitoring Team finds that BPD has reached Initial Compliance (4d) with
Paragraphs 106 and 107.

L. Paragraph 108 – Qualifications to Become a CIT Officer

                 Training and designation as a CIT officer will be voluntary. To be
                 eligible for consideration, officers must have at least one year of
                 experience as a BPD officer. BPD will provide an in-depth
                 assessment of each applicant to determine the applicant’s fitness to
                 serve as a CIT officer. This assessment will include an examination
                 of the officer’s written application, supervisory recommendations,
                 use of force by the applicant, complaints against the applicant,
                 disciplinary file, and an in-person interview.

The process for selection of CIT officers was developed by BPD in 2018, approved by the
Monitoring Team, and presented to the Court.63 The Monitoring Team discusses compliance with
the CIT officer selection process in its analysis of BPD compliance with Paragraphs 109 and 118,
below. Because the Monitoring Team concludes below that the Department has progress left to be
made in recruiting and screening CIT officers, it concludes that a compliance score of Off Track
(4b) is appropriate.

M. Paragraph 109 – Supervisor Identification of CIT Officers

                 Supervisors will identify and encourage officers across all shifts and
                 all districts who are qualified to serve as CIT officers.


62
  Crisis Intervention Team (CIT) Certification Curriculum | Baltimore Police Department
63
  Notice of Approval of Crisis Intervention Plan and Crisis Intervention Team Officer Selection Process Under
Paragraphs 118-120 of the Consent Decree, docket entry 154 (November 11, 2018).


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The CIT program contacts every BPD officer with more than one year in service by letter and/or
email to encourage them to apply for the CIT training. In addition, the CIT program has developed
a recruitment video and other mechanisms to encourage applications which are discussed more
fully in the assessment of paragraph 119. BPD reports that a number of supervisors are actively
and successfully recruiting officers to join the CIT program.

However, the Monitoring Team understands that officers regularly report to the CIT program that
supervisors decline to approve their participation because of the need to require overtime from
other officers to cover their shifts while in the 40-hour training. Although some District
Commanders with high numbers of behavioral health calls will approve the training regardless of
the staffing limitations, others do not. CIT leadership can sometimes assist the officer to get
approval if they raise the issue with sufficient time before the training session begins. CIT training
is offered six times each year with a maximum of 24 participants in each class. When a class does
not reach capacity with BPD officers, officers from other law enforcement agencies are invited or
request attendance.

In this way, BPD supervisors are not identifying and encouraging officers to become CIT officers
in the manner that is necessary to sustain a comprehensive CIT first-responder program.
Troublingly, based on the Monitoring Team’s best and current understanding, BPD does not yet
have a clear plan to address this barrier. Even as the shortage of CIT-trained officers is a symptom
of the larger staffing dynamics that the Department continues to encounter, BPD will continue to
be significantly short of the number of CIT-trained officers necessary to meet the Consent Decree
requirements unless and until something changes. Because BPD is not systematically encouraging
identifying and encouraging existing officers to be CIT officers, the Monitoring Team assesses
this paragraph as Off Track (4b).

N. Paragraph 110 – Sufficient CIT Officers for All Shifts and All Districts

               BPD will ensure that CIT officer capacity is sufficient to ensure that,
               at all times and in all districts, CIT officers can respond to
               individuals with Behavioral Health Disabilities and those in crisis.
               Absent unusual circumstances, at least one CIT officer will respond
               to all calls or incidents where BPD knows or reasonably should
               know an individual with a Behavioral Health Disability or an
               individual in crisis is involved.

As noted above, BPD has failed to recruit sufficient numbers of officers to receive the CIT training
to meet this requirement of the Consent Decree. Tables 3 and 4, below, demonstrate that none of
the BPD districts have sufficient numbers to ensure that a CIT officer is available on every shift
and for every call, especially once leave and days-off are taken into account.



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           In the Crisis Intervention Plan submitted by BPD to the Court on November 16, 2018, BPD
           determined that it needs to have 30% of its patrol officers CIT trained to meet this requirement.
           Prior to the Court approved CIT training program, BPD had 140 officers who were trained in the
           BEST program. Given the differences between the two programs, the BEST trained officers were
           not grandfathered into the CIT program. Overall, fewer than 10% of officers are CIT trained and
           for some Districts on some shifts no CIT officers are available. The Crisis Intervention Plan
           identified steps to address the shortfall in CIT trained officers, including more frequent training
           classes and efforts to encourage officers to apply. These strategies have proven unsuccessful, and
           the Monitoring Team recommends that BPD consider additional approaches to identify officers
           with the aptitude and the willingness to take on the role.

           The following chart lists the CIT trained officers by shift and district.

           Table 3.           CIT-Trained Officers by Shift and District

District       Shift A                      Shift B                      Shift C                      Total
               CIT       Patrol     % per   CIT       Patrol     % per   CIT       Patrol     % per   CIT       Patrol     % per Shift
               Trained   Staffing   Shift   Trained   Staffing   Shift   Trained   Staffing   Shift   Trained   Staffing

Central        2         22         9.1%    3         18         16.7%   2         42         4.8%    7         82         8.5%
Southeastern   1         23         4.3%    2         19         10.5%   5         37         13.5%   8         79         10.1%
Eastern        4         26         15.4%   2         28         7.1%    7         37         18.9%   13        91         14.3%
Northeastern   4         25         16.0%   1         25         4.0%    2         31         6.5%    7         81         8.6%
Northern       1         25         4.0%    5         24         20.8%   5         30         16.7%   11        79         13.9%
Northwestern   0         21         0.0%    1         20         5.0%    6         35         17.1%   7         76         9.2%
Western        1         23         4.3%    1         20         5.0%    0         37         0.0%    2         80         2.5%
Southwestern   3         26         11.5%   4         21         19.0%   3         31         9.7%    10        78         12.8%
Southern       3         26         11.5%   2         28         7.1%    2         34         5.9%    7         88         8.0%
Total          19        217        8.8%    21        203        10.3%   32        314        10.2%   72        734        9.8%


           The number of CIT trained officers available for each shift and District is significantly below the
           staffing numbers identified in BPD’s Crisis Intervention Plan, which was approved by the
           Monitoring Team and filed with the Court. The Plan required:

           Table 4.           CIT Staffing Required by BPD Crisis Intervention Plan

District       Shift A                      Shift B                      Shift C                      Total
               CIT       Patrol     % per   CIT       Patrol     % per   CIT       Patrol     % per   CIT       Patrol     % per Shift
               Trained   Staffing   Shift   Trained   Staffing   Shift   Trained   Staffing   Shift   Trained   Staffing
Central        9         32         28.1%   9         33         27.3%   10        34         29.4%   28        99         28.3%
Southeastern   8         28         28.6%   9         31         29.0%   9         32         28.1%   26        91         28.6%



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Eastern          8       28       28.6%      9    32          28.1%   9         31       29.0%   26     91          28.6%
Northeastern     10      34       29.4%      13   46          28.3%   12        42       28.6%   35     122         28.7%
Northern         7       26       26.9%      10   35          28.6%   9         31       29.0%   26     92          28.3%
Northwestern     8       28       28.6%      9    33          27.3%   8         28       28.6%   25     89          28.1%
Western          7       25       28.0%      9    32          28.1%   9         30       30.0%   25     87          28.7%
Southwestern     8       27       29.6%      10   34          29.4%   11        37       29.7%   29     98          29.6%
Southern         8       27       29.6%      9    33          27.3%   9         33       27.3%   26     93          28.0%
Total            73      255      28.6%      87   309         28.2%   86        298      28.9%   246    862         28.5%


           It is important to note that the total number of CIT officers assigned to each shift and each District
           are also well below the projected numbers and the BPD is experiencing a Department-wide staffing
           shortage. Nevertheless, even given this reduced baseline, BPD has not achieved the 30% CIT
           trained officer staffing level required by the Crisis Intervention Plan.64 BPD will need nearly triple
           the number of CIT officers by recruiting and training 174 new CIT officers to achieve compliance
           with this provision, not accounting for attrition and promotions. Table 5 demonstrates the gaps in
           the CIT officer program and suggests that it will take a concerted recruitment effort to meet this
           requirement.

           Table 5.           Current CIT-Trained Officers and Number of Additional CIT Officers
                              Needed to Meet Consent Decree Requirements, by District

                                  District               Current CIT       Additional CIT
                                                         Trained           Trained Officers
                                                         Officers          Needed to Meet
                                                                           Consent Decree
                                  Central                7                 21
                                  Southeastern           8                 18
                                  Eastern                13                13
                                  Northeastern           7                 28
                                  Northern               11                15
                                  Northwestern           7                 18
                                  Western                2                 23
                                  Southwestern           10                19
                                  Southern               7                 19
                                  Total                  72                174


           CIT leadership has identified several barriers to recruiting CIT officers. First, the Department-
           wide staffing shortage limits the ability of officers to participate in the 40-hour training. As
           discussed in the assessment of paragraph 109 above, supervisors may be declining to approve the
           participation of officers in CIT training because of staffing and recruitment shortages.


           64
                Id.


                                                              35
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Similarly, since many of the officers who are interested in CIT training are younger or newer to
the force, the small size of academy classes has limited recruitment efforts. Small academy classes
mean that there are fewer new officers in the Department who have not had the opportunity
previously to participate in the training.

CIT leadership also identified persistent misperceptions about the role of a CIT officer as a barrier.
Officers have reported reluctance because of a concern that they will be forced to work a shift or
district not of their choosing or that they will be forced to take the calls of other officers.

BPD is taking several steps to recruit officers:

       ● BPD identifies every officer with at least one year of service and is thus eligible
         for CIT training and periodically sends them a short email or letter encouraging
         them to apply for the CIT Officer training;
       ● CIT leadership participates in roll call at the requests of District leadership to
         recruit officers;
       ● BPD developed and posted on-line a CIT recruitment video with personal
         testimonies from BPD officers who completed the training;
       ● CIT leadership has actively recruited supervisors to participate in the CIT
         training so that they will better understand the value of the training and will,
         with the expectation that they will encourage officers under their supervision to
         apply; and
       ● BPD has started to encourage recruits to complete the application for CIT
         training during their academy so that the CIT Coordinator can contact them and
         encourage them to participate as soon as they are eligible.

Given the tangible steps that the Department has identified to try to reach compliance with
Paragraph 110, the Monitoring Teams finds that BPD’s state of compliance is best described as
On Track (4c).

O. Paragraph 111 – CIT Officers Who Respond to Call are Responsible for the Scene

               CIT officers who are dispatched to an incident involving an
               individual in crisis will have primary responsibility for the scene
               unless a supervisor has assumed responsibility. If a supervisor has
               assumed responsibility for the scene, the supervisor will seek the
               input of a CIT officer regarding strategies for responding to the
               individual in crisis where it is reasonable for the supervisor to do
               so.




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The Monitoring Team’s review found that CIT officers were on the scene in fewer than one-third
of behavioral health calls. Even when a CIT officer was present, she or he did not necessarily take
control of the call. The review, however, did not identify cases in which the failure of the CIT
officer present to take control had a negative impact on the outcome. In cases with a CIT officer
present, but the call was handled by a non-CIT officer, the non-CIT officer handled the cases
effectively or received coaching or guidance from the CIT officer to address the situation. Given
the findings of the case assessment, the Monitoring Team finds that BPD is at Off Track (4b)
compliance.

P. Paragraph 112 – Crisis Intervention Training for All Officers

               BPD will provide CIT training on responding to individuals in crisis
               to all of its officers and recruits:

                      a. All officers will receive at least eight hours of annual in-
                      service training. The annual training will be adequate for
                      officers to demonstrate competence in the subject matter and
                      will include these topics:

                              i. How non-medically trained law enforcement
                              personnel can recognize common characteristics
                              and behaviors associated with Behavioral Health
                              Disabilities or Intellectual and Developmental
                              Disabilities;

                              ii. How to interact with individuals with these
                              disabilities;

                              iii. When and how to make reasonable modifications
                              for individuals with these disabilities;

                              iv. That individuals with these disabilities may have
                              alternate perceptions and how that may affect their
                              interactions with others;

                              v. How to take appropriate steps to ensure effective
                              communication with individuals with these
                              disabilities;

                              vi. How to recognize and respond to conduct or
                              behavior that is related to these disabilities;


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                               vii. How to avoid escalating an interaction with
                               individuals with these disabilities;

                               viii. How to use de-escalation techniques to increase
                               safety and to avoid using force unnecessarily;

                               ix. What local resources are available to provide
                               treatment, services, or support for individuals with
                               Behavioral Health Disabilities or Intellectual and
                               Developmental Disabilities, and when and how to
                               draw upon these resources; and

                               x. The circumstances in which a CIT officer should
                               be dispatched or consulted; and how situations
                               involving individuals in crisis should be addressed if
                               a CIT officer is not immediately available.

                       b. All new recruits will receive at least 16 hours of training
                       in the Academy;

                       c. Completion of this training does not qualify an officer as
                       a CIT officer.

BPD is providing training consistent with the requirements of paragraph 112 and the Monitoring
Team-approved curriculum. The Monitoring Team’s lead subject-matter expert and members of
the Department of Justice observed the training sessions. The trainers were effective, and the
feedback from officers was uniformly positive.

The crisis intervention cases reviewed by the Monitoring Team suggested that the crisis
intervention training is having a significant, positive impact on officer performance and
departmental culture. Officers nearly uniformly engaged in de-escalation, resisted the use of force,
and treated persons in behavioral health crisis with respect. In addition, officers avoided arresting
persons in favor of either an emergency petition or a voluntary admission. In one instance reviewed
by the Monitoring Team, the officer, who responded to a call involving a man in behavioral health
crisis who had been accused of attempted theft and assault, called a supervisor to confirm that he
should not arrest the person, but instead have him transported to the hospital. In another instance,
an officer uncertain whether a person met the standard for an emergency petition can be seen on
her body worn camera video consulting training materials on her phone, demonstrating the
seriousness with which she was taking a difficult decision.



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In light of the foregoing, the Monitoring Team finds BPD to have reached Initial Compliance
(4d) with Paragraph 112 regarding general crisis training for all BPD officers.

Q. Paragraph 113 – BPD Dispatch Training

                 All BPD dispatchers and their supervisors will receive crisis
                 intervention training that is adequate to enable them to identify,
                 dispatch, and appropriately respond to calls for service that involve
                 individuals in crisis.

The Monitoring Team has previously assessed and evaluated the crisis intervention training
developed and provided to BPD dispatchers and supervisors.65 Indeed, BPD’s behavioral health
training for dispatch employees was approved by the Monitoring Team and submitted to the
Court.66 Consequently, BPD is in Initial Compliance (4d) with Paragraph 113.

R. Paragraph 114 – BPD Dispatch Policies

                 BPD will revise its dispatch policies and protocol as necessary to
                 meet the requirements of this Agreement, with input from the CPIC,
                 the Monitor, and DOJ. With the of limiting police involvement in
                 crises where appropriate, calls related to crises that do not
                 necessitate a police response will be sent to other crisis services,
                 such as a Mobile Crisis Team. When a police response is necessary,
                 BPD will ensure that dispatchers use all reasonable efforts to
                 dispatch a CIT trained officer to respond to the call.

BPD’s revised dispatch policies were approved by the Monitoring Team July 15, 2019 and were
most recently updated in June 2021.67 As the Monitoring Team has previously described, the
policies meet the requirements of the Consent Decree.

It is notable that more calls to 9-1-1 that would otherwise receive an EMS response from the
Baltimore City Fire Department (sometimes with BPD co-response) are being diverted to
Baltimore Crisis Response Incorporated for a behavioral health response. According to the
BGBHC Data Subcommittee, BPD behavioral health calls are on the decline and calls to the Fire
Department and to BCRI have increased.68 From 2021 to 2022, behavioral health calls declined

65
   The Training was approved in May of 202. See, Docket 314. The training was found in initial compliance in the
Monitoring Team’s Sixth Semiannual Report, May 14, 2021.
66
   The training curriculum is available online at: Behavioral Health Awareness Training for 911 and Dispatch
Personnel | Baltimore Police Department
67
   Behavioral Health Crisis Dispatch, Policy 715.
68
   Baltimore City Behavioral Health Collaborative Data Subcommittee Biannual Report, July 1, 2022 – December
31, 2022 (August 11, 2023) at page 3.


                                                       39
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25% from 5,717 to 4,264.69 The Monitoring Team did not assess the causes for the decline, but
notes that reduced law enforcement response is consistent with the consent decree requirements.

Baltimore launched an expansion of its 9-1-1 Diversion Program.70 While the diversion program
is not assessed in the report and will be assessed along with paragraph 97, the expansion is an
important step to reduce the number of behavioral health calls assigned to BPD and increase those
to non-law enforcement community providers. Significantly, the expansion permits diversion of
subsequent calls about an event that has already been diverted and diversion of calls regarding
youths. As discussed below, the Monitoring Team’s review of incidents disproportionately
involved young people, many of whom were in their homes at the time of crisis and may have
benefited from a non-law enforcement alternative. Data from the diversion program shows
hundreds of calls directly to 9-8-8 that are resolved without a law enforcement response, indicating
its promise to support individuals who need a behavioral health response, as the City and BPD
work to bolster the use of 9-8-8 and as the 9-1-1 Diversion Program continues to expand.71

BPD is in Initial Compliance (4d) in its efforts to train dispatch workers and divert crisis calls.
Evaluation of CIT officers dispatched was not part of the methodology for this assessment and
cannot be assessed until a greater number of CIT officers are recruited and trained.

S. Paragraph 115 – Crisis Intervention Coordinator

                Within 180 days of the Effective Date, BPD will designate an officer
                at the rank of Sergeant or above to act as a Crisis Intervention
                Coordinator (“Coordinator”) to better facilitate communication
                between BPD and members of the behavioral health provider
                community and to increase the effectiveness of BPD’s crisis
                intervention program. BPD will ensure that the Coordinator is
                empowered to fulfill all duties of the Coordinator required by this
                Agreement.

The position of Crisis Intervention Coordinator is established by BPD policy with broad authorities
and responsibilities consistent with the requirements of this paragraph and the other provisions of
the Consent Decree.72 These responsibilities include coordination with behavioral health




69
   Id.
70
   911 Diversion Expansion Report 3-8-23 (powerdms.com); 911 Diversion Program Report.pdf
(baltimorepolice.org) 911 Diversion Expansion Report (final).pdf (baltimorepolice.org).
71
   https://mayor.baltimorecity.gov/behavioral-health-and-consent-decree/9-1-1-diversion.
72
   Crisis Intervention Program Policy 712 paragraphs 53 – 74.


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providers, collecting and analyzing data, facilitation of BCBHC, selecting CIT officers and
maintaining a roster of officers, and preparing reports on the program.73

The CIT Coordinator has been a Sergeant or Lieutenant since September of 2016. The following
persons have held the position:

                Lieutenant Azalee Johnson (September 2016 – July 2019)

                Sergeant Thomas Smith (Spring 2017 – Present)

                Lieutenant Don Slimmer (September 2019 – March 2020)

                Lieutenant Joanne Wallace (September 2020 – November 2021)

                Lieutenant Gary Edmondson (August 2022 – Present)

Consequently, BPD is in Initial Compliance (4d) with Paragraph 115.

T. Paragraph 116 – Crisis Intervention Coordinator Training

                The Coordinator shall receive at least eight hours of training on the
                role and duties of the Crisis Intervention Coordinator, in addition
                to the CIT training he or she has already received in the Academy
                and to become a CIT trained officer.

To meet this requirement, CIT Coordinators attend a 40-hour course at Baltimore Crisis Response,
Inc., which has continued to occur. Paragraph 116 is therefore in Initial Compliance (4d).

U. Paragraph 117 – Crisis Intervention Coordinator Partnership with Advocates and
   Behavioral Health Providers

                The Coordinator shall identify, develop, and maintain partnerships
                with program stakeholders and shall serve as a point of contact for
                advocates, individuals with Behavioral Health Disabilities, their
                families, caregivers, professionals, and others associated with the
                behavioral health and Intellectual and Developmental Disability
                community. The Coordinator will solicit input and guidance from
                the CPIC regarding BPD’s CIT program.




73
     Id.


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The CIT Coordinator, together with the Major responsible for Education and Training are
participants in BCBHC and its committees during which they interact with the various
stakeholders. The CIT receives the recommendations from BCBHC for the CIT program. The
Major continues to be the more visible face of the CIT program to the community. In addition to
the Major’s efforts, the CIT Coordinator could play a greater role in developing relationships with
members of the provider community. Accordingly, we find that BPD is in Initial Compliance
(4d) with the requirements of Paragraph 117.

V. Paragraph 118 – Crisis Intervention Coordinator Selection of CIT Officers

                 The Coordinator will be responsible for ensuring the selection of
                 appropriate candidates for designation as CIT officers consistent
                 with the requirements set forth in this Agreement.

A plan for the selection of CIT officers was approved by the Monitoring Team and submitted to
the Court on November 1, 2021.74 The plan requires that participation in the CIT program be
voluntary and that officers have served in the Department for at least a year after completion of
field training. Officers applying for CIT certification must submit a statement of interest and be
interviewed by a Selection Board. The selection Board will assess their suitability based on the
following factors:

                 ● The volunteer nature of the CIT program and retention of an
                   officer’s normal patrol duties;
                 ● Any background the officer may have related to Crisis
                   Intervention;
                 ● The required training and refresher training related to CIT;
                 ● Response and report-writing criteria for CIT calls for service;
                 ● Any discipline, complaints, awards, and evaluations from the
                   personnel;
                 ● Review that the Selection Board deems appropriate for
                   clarification; and
                 ● Any additional criteria at the discretion of the Selection Board.75

The Monitoring Team reviewed all 112 of the application records for officers who applied for
crisis intervention training. The application files are insufficient to evaluate the assessment of
officers for suitability. Officers are asked to explain their interest on a form that provides two lines



74
   Selection Process for the Baltimore Police Department Crisis Intervention Team (CIT) and Crisis Response Team
(CRT) Officers, Docket 154-2, November 16, 2018.
75
   Id. at 4.


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of written text. Only a small percentage of officers provide a separate written statement explaining
their interest in receiving CIT training.

Supervisor recommendations are often provided over the phone and are not typically documented.
When provided in writing, they are brief—sometimes consisting of only a few words. For example,
in one case when a supervisor was asked how the officer responded to a behavioral health call, the
response was “professionally.” A check list notes that there was a review of the officer’s record of
discipline and force but there is no documentation of what was found during the review or how it
was considered in the assessment of the officer’s suitability to be a CIT officer. The sergeant
assigned to the CIT Coordinator requests the officer’s discipline record from the Public Integrity
Bureau (“PIB”) and reviews the record. At the conclusion of the review, at the request of the PIB,
the CIT destroys its copy of the discipline record. Other than an entry that the file was reviewed
there is not documentation of how the information contained in the PIB file was used to assess the
suitability of the applicant for CIT training, the CIT Coordinator relies on the good judgment of
the sergeant to identify potential concerns.

The only records of force considered in the assessment are incidents in which the PIB has sustained
misconduct. The CIT Coordinator does not review any other use of force records.

BPD no longer conducts interviews of applicants for CIT training and has not done so since 2020.
BPD ceased this practice in recognition that it was having trouble filling its CIT classes and
determined that there was no reason to use the interviews to screen out potential CIT officers.
Given the deficiencies in the screening of CIT officers, the Monitoring Team determines the
compliance progress with respect to Paragraph 118 to be Off Track (4b).

W. Paragraph 119 – Crisis intervention Coordinator Ensure that CIT Officers Available on
   All Shifts in All Districts

               BPD, through the Coordinator, shall also ensure that CIT officer
               capacity is sufficient to ensure that, at all times of the day and in all
               districts, CIT officers can respond to individuals with Behavioral
               Health Disabilities and those in crisis.

Paragraph 119 was assessed in conjunction with Paragraph 110. As discussed previously, there are
too few CIT-trained officers to ensure sufficient capacity to respond to every call – and, in fact, in
two-thirds of the behavioral health calls reviewed by the Monitoring Team, no CIT-trained officer
responded. Given the failure to recruit and train sufficient numbers of CIT officers, this provision
is determined to be Off Track (4b).




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X. Paragraph 120 – Crisis Intervention Coordinator to Develop and Implement Crisis
   Intervention Plan

               BPD, through the Coordinator, will develop and implement a crisis
               intervention plan (“Crisis Intervention Plan”). The goal of the
               Crisis Intervention Plan will be to ensure that a CIT officer is
               available to respond to all calls and incidents that appear to involve
               an individual in crisis. On an annual basis, BPD will conduct an
               analysis of crisis intervention incidents to determine whether BPD
               has enough CIT officers, whether it is deploying those officers
               effectively, and whether CIT officers, call-takers, and dispatchers
               are appropriately responding to people in crisis, and will make
               appropriate changes to policies, procedures, and training regarding
               police contact with individuals in crisis. The Crisis Intervention
               Plan will include an assessment of the number of officers necessary
               to achieve the goal of ensuring that a CIT officer is available to
               respond to all calls and incidents that appear to involve an
               individual in crisis; identification of gaps in coverage of particular
               shifts or districts; and development of mechanisms to fill those gaps.
               BPD will review and revise the Crisis Intervention Plan in order to
               identify and address barriers to full coverage. BPD will identify
               performance measures for the CIT program. These measures will
               consider quantitative data on key aspects of program operation as
               well as qualitative data on officers’ and community members’
               perceptions of the program. Community members include
               individuals who have experienced Behavioral Health crises that
               have included police involvement. BPD may consider engaging a
               university or other expert partner to guide these data collection and
               analysis efforts.

The Crisis Intervention Plan was approved by the Monitoring Team on November 16, 2018 and
submitted to the Court. While the plan has been developed, it has yet to be fully implemented. The
Monitoring Team determined that this provision is On Track (4c).

Y. Paragraphs 121 and 122 – Behavioral Health Disability or Crisis Data Collection,
   Analysis, and Reporting

               121. BPD will collect data on suspected Behavioral Health
               Disability or crisis status of individuals subject to law enforcement
               actions including Stops, Searches, Arrests (to include type of offense
               and probable cause), use of force, injuries, and in-custody deaths.


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             For any section of this Agreement that calls for data collection,
             analysis, or reporting, BPD shall report on the suspected
             Behavioral Health Disability or crisis status of the individuals
             involved.

             122. BPD will collect, analyze, and report data related to
             Behavioral Health Disability or crisis status, including:

                    a. BPD will collect data regarding calls for service that
                    involve possible Behavioral Health Disabilities or people in
                    crisis, including the number of calls, the nature of the crisis,
                    and the extent to which individuals previously interacted
                    with BPD; the disposition of those calls, including whether
                    referred to community services, an emergency room,
                    Emergency Petition, Arrest, booking; whether force was
                    used; the type of forced used; and the steps taken, if any, to
                    de-escalate interactions, especially when confrontations
                    resulted in use of force, injury or death.

                    b. BPD will analyze the data on an ongoing basis to drive
                    improvement toward the goals of Paragraph 96 and report
                    the data on a quarterly basis to the Crisis Intervention
                    Coordinator and the CPIC.

On a biannual basis, BPD issues the Baltimore City Behavioral Health Collaborative Data
Subcommittee report. The Biannual report collects and analyzes the data required by the
paragraphs of the agreement. Consequently, the Monitoring Team finds BPD to be in Initial
Compliance (4d) with Paragraphs 121 and 122.




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V.       OUTCOME ASSESSMENTS

A.       Paragraph 459.h.i. – Number of Persons with Emergency Petitions Eligible for
         Community Based Services (paragraph 459h.i.)

                  To assess whether people with behavioral health disabilities or in
                  crisis are receiving reasonable modifications, the Monitor will
                  conduct analysis of data showing:

                  i. The number of people subject to Emergency Petitions who were
                  eligible for community-based services;

More than 67% of the behavioral health incidents reviewed by the Monitoring Team resulted in an
emergency petition and more than 22% resulted in a voluntary admission. Only two cases of the
95 reviewed resulted in the person remaining in the community for treatment. In one case, a youth
in crisis was assessed by EMS as not being a threat to self or others, but resulted in a trip to the
emergency room because the youth’s mother requested the admission and had no community-
based resource to provide services to her child. The Monitoring Team will further assess this
provision when it reviews compliance with paragraph 97.

B. Referrals by BPD to Community Mental Health Services or Hospital Emergency Rooms
   (para 459h.ii.)

                  To assess whether people with behavioral health disabilities or in
                  crisis are receiving reasonable modifications, the Monitor will
                  conduct analysis of data showing:

                  …

                   ii. The number of referrals by BPD to community mental health
                  services or to a hospital emergency room;

During the calendar year of 2022, of 4,519 behavioral health incidents resulted in the completion
of a Behavioral Health Form,76 3,301 resulted in an emergency petition, 301 a voluntary admission,
251 were handled by EMS, and 256 in medical treatment. Only nine resulted in a referral to mobile
crisis, four to peer support, and 26 to a current provider.



76
  It is important to note that the number of incidents with Behavioral Health Forms will not match the number of calls
coded as behavioral health calls by dispatchers. Some incidents were initiated based on another call code or based on
an encounter with an officer. In other cases, dispatchers coded the call as behavioral health, but the officer did not
complete a Behavioral Health Form for a variety of reasons.


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Given the limited non-law enforcement resources available, the behavioral health incident review
conducted by the Monitoring Team found that officers involved in those incidents provided
reasonable accommodations. Nevertheless, most calls reviewed resulted in at least a brief
institutionalization. Additional community services and increased mobile crisis may have reduced
the number of people in behavioral health crisis that required treatment in an institutional setting.
Assessment of community services will be conducted in a future review of paragraph 97 of the
Consent Decree.




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VI.    COMPLIANCE ASSESSMENT CONCLUSIONS

 ¶     Requirement                                                                                    Status of
                                                                                                      Compliance

 A. BPD Crisis Intervention

 96    BPD is committed to responding to individuals with Behavioral Health Disabilities and           Not Reviewed
       those in crisis in a manner that respects individuals’ civil rights and contributes to their
       overall health and welfare. Ensuring that BPD uses appropriate crisis response techniques
       when responding to individuals with Behavioral Health Disabilities or in crisis will help
       prevent situations that could lead to unreasonable use of force, promote connection of
       people with Behavioral Health Disabilities or in crisis to the behavioral health system,
       and decrease inappropriate criminal justice involvement for people with Behavioral
       Health Disabilities or in crisis.

 97    The City will coordinate with the Collaborative Planning and Implementation Committee           Not Reviewed
       (“CPIC”) to conduct an assessment to identify gaps in the behavioral health service
       system, recommend solutions, and assist with implementation of the recommendations as
       appropriate. The assessment will include an analysis of a sample of police interactions
       with people with Behavioral Health Disabilities to identify systemic barriers and
       solutions, including what precipitated the crisis, what services could have prevented the
       crisis, how police became involved, how the response to the crisis could be improved,
       and what can be done to prevent the crisis in the future. The analysis will include
       identifying gaps in Behavioral Health Disability services (including assertive community
       treatment, permanent supported housing, targeted case management, crisis services, and
       substance use disorder services), problems with the quality or quantity of existing
       services, and other unmet needs that lead to preventable criminal justice system
       involvement.

 98    BPD will revise its policy to establish a preference for the least police-involved response         4d
       possible consistent with public safety. In situations that do not involve an Emergency            (Initial
       Petition, BPD will divert people with Behavioral Health Disabilities or in crisis to the        Compliance)
       Behavioral Health service system rather than jail or a hospital emergency room whenever
       appropriate.

 99    A person may be suspected of having a Behavioral Health Disability or being in crisis               4d
       from a number of factors including self-report, information provided by witnesses or              (Initial
       informants to dispatch or to BPD officers, from BPD’s previous knowledge of the                 Compliance)
       individual, or the officer’s direct observation.

 100   Officers will be trained to not make assumptions regarding the dangerousness of an                  4d
       individual based on that individual’s disability                                                  (Initial
                                                                                                       Compliance)




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Crisis Intervention Team (CIT) Program

101    BPD currently operates the BEST program for responding to individuals in crisis. BPD             Not Applicable
       may continue to utilize the BEST program as its CIT program, as long as the BEST
       program meets the obligations of this Agreement.

102    BPD will implement a CIT first-responder model of police-based crisis intervention with               4d
       community, health care, and advocacy partnerships to assist individuals with Behavioral             (Initial
       Health Disabilities and individuals who are in crisis.                                            Compliance)

103    The goals of the CIT program will continue to be to equip police officers with methods                4d
       to properly interact with persons with Behavioral Health Disabilities or in crisis safely;          (Initial
       de-escalate crises and reduce the unnecessary use of force against individuals with               Compliance)
       Behavioral Health Disabilities or in crisis; minimize arrests; improve the safety of patrol
       officers, individuals with Behavioral Health Disabilities or in crisis and their families,
       and others within the City’s behavioral health crisis system; and reduce the inappropriate
       involvement of individuals with Behavioral Health Disabilities with the criminal justice
       system

Collaborative Planning and Implementation Committee

104    BPD will seek to expand the membership of Baltimore City Behavioral Health                            4d
       Collaborative (BCBHC)by encouraging representation from the Maryland Department of                  (Initial
       Health and Mental Hygiene; judges from the Baltimore City Mental Health Court;                    Compliance)
       Baltimore City State’s Attorney’s Office; Office of the Public Defender for Baltimore
       City; the jails that serve Baltimore City; other relevant Baltimore City officials; Disability
       Rights Maryland (the federally-designated Protection & Advocacy organization);
       community mental health providers; substance use services providers; local hospitals; and
       advocates. BCBHC will also include the Crisis Intervention Coordinator and Behavioral
       Health Services Baltimore.

105    BPD will encourage BCBHC to identify and implement, as appropriate, strategies to                Not Assessed
       reduce the number of people with Behavioral Health Disabilities who have unnecessary
       encounters with the police, consistent with the City’s and BPD’s goals of promoting
       public health, welfare, and safety

Crisis Intervention Team (CIT) Officers

106    BPD will provide enhanced, specialized training in responding to individuals in crisis to             4d
       certain officers (“CIT officers”). All officers will receive some intervention training for         (Initial
       responding to individuals in crisis; that training is separate and distinct from the training     Compliance)
       and qualifications required to be a CIT officer. CIT officers will continue to be assigned
       to the patrol division and will maintain their standard patrol duties, except when called
       upon to respond to incidents or calls involving individuals in crisis.




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107    The enhanced training for CIT officers will be at least 40 hours of in-person training. This          4d
       enhanced training will be adequate for officers to achieve competence in the following              (Initial
       areas: how to conduct a field evaluation, suicide intervention, community behavioral              Compliance)
       health and Intellectual and Developmental Disability resources, common behavioral
       health and Intellectual and Developmental Disability diagnoses, the effects of substance
       misuse, perspectives of individuals with Behavioral Health Disabilities and their family
       members, the rights of persons with Behavioral Health Disabilities, civil commitment
       criteria, crisis de- escalation, and scenario-based exercises. This training must include on-
       site visits to mental health, substance use, and Intellectual and Developmental Disability
       community programs and interaction with individuals with Behavioral Health
       Disabilities. CIT officers must receive eight hours of annual in-service training on
       responding to individuals in crisis to maintain their expertise and skills as specialized CIT
       officers.

108    Training and designation as a CIT officer will be voluntary. To be eligible for                         4b
       consideration, officers must have at least one year of experience as a BPD officer. BPD          (Implementation
       will provide an in-depth assessment of each applicant to determine the applicant’s fitness         – Off Track)
       to serve as a CIT officer. This assessment will include an examination of the officer’s
       written application, supervisory recommendations, use of force by the applicant,
       complaints against the applicant, disciplinary file, and an in-person interview.

109    Supervisors will identify and encourage officers across all shifts and all districts who are            4b
       qualified to serve as CIT officers.                                                              (Implementation
                                                                                                          – Off Track)

110    BPD will ensure that CIT officer capacity is sufficient to ensure that, at all times and in            4c
       all districts, CIT officers can respond to individuals with Behavioral Health Disabilities       (Implementation
       and those in crisis. Absent unusual circumstances, at least one CIT officer will respond           – On Track)
       to all calls or incidents where BPD knows or reasonably should know an individual with
       a Behavioral Health Disability or an individual in crisis is involved.

111    CIT officers who are dispatched to an incident involving an individual in crisis will have
       primary responsibility for the scene unless a supervisor has assumed responsibility. If a
       supervisor has assumed responsibility for the scene, the supervisor will seek the input of              4b
       a CIT officer regarding strategies for responding to the individual in crisis where it is        (Implementation
       reasonable for the supervisor to do so.                                                            – Off Track)

Crisis Intervention Training for All BPD Officers

112    BPD will provide CIT training on responding to individuals in crisis to all of its officers           4d
       and recruits: a. All officers will receive at least eight hours of annual in-service training.      (Initial
       The annual training will be adequate for officers to demonstrate competence in the subject        Compliance)
       matter and will include these topics: i. How non-medically trained law enforcement
       personnel can recognize common characteristics and behaviors associated with
       Behavioral Health Disabilities or Intellectual and Developmental Disabilities; ii. How to
       interact with individuals with these disabilities; iii. When and how to make reasonable
       modifications for individuals with these disabilities; iv. That individuals with these
       disabilities may have alternate perceptions and how that may affect their interactions with



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       others; v. How to take appropriate steps to ensure effective communication with
       individuals with these disabilities; vi. How to recognize and respond to conduct or
       behavior that is related to these disabilities; vii. How to avoid escalating an interaction
       with individuals with these disabilities; viii. How to use de-escalation techniques to
       increase safety and to avoid using force unnecessarily; ix. What local resources are
       available to provide treatment, services, or support for individuals with Behavioral Health
       Disabilities or Intellectual and Developmental Disabilities, and when and how to draw
       upon these resources; and x. The circumstances in which a CIT officer should be
       dispatched or consulted; and how situations involving individuals in crisis should be
       addressed if a CIT officer is not immediately available. b. All new recruits will receive at
       least 16 hours of training in the Academy; c. Completion of this training does not qualify
       an officer as a CIT officer.

BPD Dispatch

113    All BPD dispatchers and their supervisors will receive crisis intervention training that is        4d
       adequate to enable them to identify, dispatch, and appropriately respond to calls for            (Initial
       service that involve individuals in crisis.                                                    Compliance)

114    BPD will revise its dispatch policies and protocol as necessary to meet the requirements           4d
       of this Agreement, with input from the CPIC, the Monitor, and DOJ.                               (Initial
                                                                                                      Compliance)
       With the goal of limiting police involvement in crises where appropriate, calls related to
       crises that do not necessitate a police response will be sent to other crisis services, such
       as a Mobile Crisis Team. When a police response is necessary, BPD will ensure that
       dispatchers use all reasonable efforts to dispatch a CIT trained officer to respond to the
       call.

Crisis Intervention Coordinator

115    Within 180 days of the Effective Date, BPD will designate an officer at the rank of                4d
       Sergeant or above to act as a Crisis Intervention Coordinator (“Coordinator”) to better          (Initial
       facilitate communication between BPD and members of the behavioral health provider             Compliance)
       community and to increase the effectiveness of BPD’s crisis intervention program. BPD
       will ensure that the Coordinator is empowered to fulfill all duties of the Coordinator
       required by this Agreement.

116    The Coordinator shall receive at least eight hours of training on the role and duties of the       4d
       Crisis Intervention Coordinator, in addition to the CIT training he or she has already           (Initial
       received in the Academy and to become a CIT trained officer.                                   Compliance)

117    The Coordinator shall identify, develop, and maintain partnerships with program                    4d
       stakeholders and shall serve as a point of contact for advocates, individuals with               (Initial
       Behavioral Health Disabilities, their families, caregivers, professionals, and others          Compliance)
       associated with the behavioral health and Intellectual and Developmental Disability
       community. The Coordinator will solicit input and guidance from the CPIC regarding
       BPD’s CIT program.




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118    The Coordinator will be responsible for ensuring the selection of appropriate candidates               4b
       for designation as CIT officers consistent with the requirements set forth in this              (Implementation
       Agreement.                                                                                        – Off Track)

119    BPD, through the Coordinator, shall also ensure that CIT officer capacity is sufficient to             4b
       ensure that, at all times of the day and in all districts, CIT officers can respond to          (Implementation
       individuals with Behavioral Health Disabilities and those in crisis.                              – Off Track)

120    BPD, through the Coordinator, will develop and implement a crisis intervention plan
       (“Crisis Intervention Plan”). The goal of the Crisis Intervention Plan will be to ensure that
       a CIT officer is available to respond to all calls and incidents that appear to involve an
       individual in crisis. On an annual basis, BPD will conduct an analysis of crisis
       intervention incidents to determine whether BPD has enough CIT officers, whether it is                4c
       deploying those officers effectively, and whether CIT officers, call-takers, and                (Implementation
       dispatchers are appropriately responding to people in crisis, and will make appropriate           – On Track)
       changes to policies, procedures, and training regarding police contact with individuals in
       crisis. The Crisis Intervention Plan will include an assessment of the number of officers
       necessary to achieve the goal of ensuring that a CIT officer is available to respond to all
       calls and incidents that appear to involve an individual in crisis; identification of gaps in
       coverage of particular shifts or districts; and development of mechanisms to fill those
       gaps. BPD will review and revise the Crisis Intervention Plan in order to identify and
       address barriers to full coverage. BPD will identify performance measures for the CIT
       program. These measures will consider quantitative data on key aspects of program
       operation as well as qualitative data on officers’ and community members’ perceptions
       of the program. Community members include individuals who have experienced
       Behavioral Health crises that have included police involvement. BPD may consider
       engaging a university or other expert partner to guide these data collection and analysis
       efforts.

B. Behavioral Health Disability or Crisis Data Collection, Analysis, and Reporting

121    BPD will collect data on suspected Behavioral Health Disability or crisis status of                  4d
       individuals subject to law enforcement actions including Stops, Searches, Arrests (to              (Initial
       include type of offense and probable cause), use of force, injuries, and in-custody deaths.      Compliance)
       For any section of this Agreement that calls for data collection, analysis, or reporting,
       BPD shall report on the suspected Behavioral Health Disability or crisis status of the
       individuals involved.

122    BPD will collect, analyze, and report data related to Behavioral Health Disability or crisis
       status, including: a. BPD will collect data regarding calls for service that involve possible
       Behavioral Health Disabilities or people in crisis, including the number of calls, the nature        4d
       of the crisis, and the extent to which individuals previously interacted with BPD; the             (Initial
       disposition of those calls, including whether referred to community services, an                 Compliance)
       emergency room, Emergency Petition, Arrest, booking; whether force was used; the type
       of forced used; and the steps taken, if any, to de-escalate interactions, especially when
       confrontations resulted in use of force, injury or death. b. BPD will analyze the data on




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an ongoing basis to drive improvement toward the goals of Paragraph 96 and report the
data on a quarterly basis to the Crisis Intervention Coordinator and the CPIC.




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